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EXHIBIT 1
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 4 of 105 PagelD #:3904

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

METROPOLITAN LIFE
INSURANCE COMPANY,

Plaintiff,
v.
THE GUARDIAN LIFE INSURANCE
COMPANY OF AMERICA,
O’M & ASSOCIATES LLC, DBA
O’MALLEY & ASSOCIATES

Defendants.

Case No. 06 C 5812

Judge Charles R. Norgle
Magistrate Judge
Martin C. Ashman

Plaintiff’s Rule 26 Disclosures

Pursuant to Fed. R. Civ. P. 26(a)(1)(A), Plaintiff Metropolitan Life Insurance Company

submits the following as its initial disclosures:

I. Individuals Likely to Have Discoverable Information

1. Debbie Covay

2. Dean Gregory

3. Michael Garzanelli
4. Paula Fitzgibbon

5. Mike Vietri

6. Pat McNally

Agency Sales Director, MetLife Downers Grove.
Has knowledge of removal of client files from
office; investigation of missing client files; searches
of email systems conducted following departure of
agents.

Managing Director, MetLife Downers Grove.

Has knowledge of MetLife policies and procedures;
business operations of MetLife’s Downers Grove
Office.

Has knowledge of financial matters

Has knowledge of financial matters

Executive Vice-president, MetLife’s Agency
Distribution Group. Has knowledge of personnel

and operations of MetLife Downers Grove.

Expert witness on damages.
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I. Categories/Descriptions of Documents and Tangible Things MetLife May Use to
Support its Position

1. Documents previously produced in companion case Metropolitan Life Insurance
Company v. Park Avenue Securities, et al., NASD No. 05-03694, which the parties

have agreed may be used in this matter.

2. Documents identified by any other party in its Rule 26 Disclosures.

IH. Computation of Damages

1. Documents previously produced in companion case Metropolitan Life Insurance
Company v. Park Avenue Securities, et al., NASD No. 05-03694, which the parties
have agreed may be used in this matter.

IV. Insurance Agreements

Plaintiffs are not aware of any relevant insurance policies.

MetLife reserves the right to supplement these initial disclosures pursuant to the Federal

Rules of Civil Procedure.

Dated: June 21, 2007

spectfully Submitted by:

C outme

Michael J. Sheehan

Rachel B. Cowen

Esther H. Vreeman-Moll

Connelly Sheehan Harris

150 South Wacker Drive, Suite 1600
Chicago, Ilinois 60606

Telephone: (312) 372-1969

COUNSEL FOR PLAINTIFF
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 6 of 105 PagelD #:3906

Certificate of Service

I certify that on this 21st day of June, 2007 I caused the foregoing Plaintiff's Rule
26(a)(1) Disclosures to be served via first class mail, postage pre-paid, upon:

Steven T. Whitmer
Terrence P. Canade
Lord Bissell & Brook
111 S. Wacker Drive
Chicago, IL 60606-4410

(Rackhl Come

 
 

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EXHIBIT 2
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 8 of 105 PagelD #:3908

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
METROPOLITAN LIFE )
INSURANCE COMPANY, )
. )
Plaintiff, )
)
Vv. ) Case No. 06 C 5812
)
THE GUARDIAN LIFE INSURANCE ) Judge Charles R. Norgle
COMPANY OF AMERICA, ) Magistrate Judge
O’M & ASSOCIATES LLC, DBA ) Martin C. Ashman
O’MALLEY & ASSOCIATES )
)
Defendants. )

MetLife’s Responses to Guardian’s
Second Request For Production of Documents

Plaintiff Metropolitan Life Insurance Company (“MetLife”) responds to Defendant The
Guardian Life Insurance Company of America’s (“Guardian”) Second Request For Production of
Documents as follows:

GENERAL OBJECTIONS

MetLife objects to Guardian’s Instructions and Definitions to the extent they impose
burdens and requirements that are different from, or broader than those imposed by the Federal
Rules of Civil Procedure.

RESPONSES

1. All documents referring or relating to MetLife’s review, examination,
consideration and/or analysis of the productivity or production targets set for each of the
following individuals during the period Octriber 2004 through and including October 2005: (ay
Jeffrey Adler; (b) Ann Beck; (c) Jeff Bishop; (d) Bruce Bitter; (e) Ann Brennan: (f) Laura Davis;

(g) John DeSimone; (h) Mary Patricia Ernst; (i) Annette Hammortree; (j) Richard Henson; (k)
James Hoeflinger; (1) Rhonda Jecman; (m) Justin LaMonica; (n) Tricia Overton; (0) Rathika
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 9 of 105 PagelD #:3909

Pathy; (p) Vinay Phommachanh; (q) Donald Sackow; (r) Kurt Tuzinkewich; (s) James Wilbert;
(t) Greg Zastrow; and (u) Leo Zimmerman.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,

MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

2. All documents which form the factual basis for Plaintiff's allegation that
“Guardian knew O'Malley was subject to the 16449 agreement” as alleged in paragraph 21 of the
Amended Complaint.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
MetLife does not here assert any other basis for objection and reserves the ri ght to assert all other

objections.

3. All documents which form the factual basis for Plaintiff’s allegation that
“Guardian encourage[d]” “O’Malley [to] recruit[] a team of his employees to” “join Guardian’s
competing office” as alleged in paragraph 22 of the Amended Complaint.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,

MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

4. All documents which form the factual basis for Plaintiff’s allegation that
“Guardian encourage[d]” “O’ Malley [to] recruit[] a team of his employees to steal MetLife’s
client files” as alleged in paragraph 22 of the Amended Complaint.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request

within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
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MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

5. All documents which form the factual basis for Plaintiff’s allegation that
“Guardian encourage[d]” “O’ Malley [to] recruit[] a. team of his employees to” use “stolen client
files to solicit MetLife customers” as alleged in paragraph 22 of the Amended Complaint.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
MetLife does not here assert any other basis for objection and reserves the right to assert all other -

objections.

6. All documents which form the factual basis for Plaintiff's allegation that Guardian
“knew that most of the MetLife employees” “solicited were parties to 16449 agreements which
prohibited them from soliciting MetLife clients or employees for 18 months” as alleged in
paragraph 22 of the Amended Complaint.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

7. All documents which support Plaintiff's allegation that John DeSimone, Laura
Davis and/or Mary Patricia Emst were agents of Guardian at any time prior to July 1, 2005.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.
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8. All documents reflecting any list, index and/or inventory of the hard copy client
files maintained at the MetLife Downers Grove agency at any time during the period January 1,
2005 through and including October 1, 2005.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

9. All documents referring or relating to the examination of files undertaken by
MetLife representatives during July 2005 at the offices of Piccone, Keeley & Associates,
including but not limited to any handwritten or electronic notes taken during the review and any
and all drafts of the document entitled “File Inventory.”

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,

MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

10. All documents reflecting Guardian’s knowledge that client files were being
removed from the Downers Grove agency by or on behalf of (a) John DeSimone; (b) Laura
Davis; (c) Mary Patricia Ermst; and/or (d) Annette Hanunortree, at any time during the period
May 1, 2005 through and including July 1, 2005.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,

MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

11. All documents which support Plaintiff's allegation that it was “harmed by the loss
of [ ] client files” as alleged in paragraph 57 of the Amended Complaint.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request

within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
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MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

12. All documents which support Plaintiff's allegation that Guardian has been
“unjustly enriched” by the acts alleged in the Amended Complaint.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

x

13. All documents which support the allegations set forth in paragraph 44 of the
Amended Complaint that Guardian knowingly aided and abetted Michael O’Malley in soliciting
MetLife employees or customers.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

14. All documents which support Plaintiff's allegation that Guardian induced “former
MetLife employees to repudiate the non-compete and non-solicitation provisions of their 16449
agreements” as alleged in paragraph 63 of the Amended Complaint.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 13 of 105 PagelD #:3913

15. All documents reflecting or referring to MetLife’s repeated demands that
Guardian return any client files as alleged in paragraph 79 of the Amended Complaint.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

16. All documents which support Plaintiffs allegation that Guardian is liable for the
conduct alleged in Count VII of the Amended Complaint under a theory of respondeat superior.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,

MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

_ 17. All documents reflecting the steps taken by MetLife to notify customers of the
loss of their personal information due to the breach of MetLife’s security alleged in paragraph 69
of the Amended Complaint.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

18. All documents reflecting the steps which MetLife has taken to mitigate the
damages alleged in the Amended Complaint with respect to each cause of action.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.
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19. All documents relating or referring to the security measures in place at the
MetLife Downers Grove agency during the period January 1, 2005 through and including
October 1, 2005, to maintain the security of the following: (a) customer names, addresses and
phone numbers; (b) customer financial information; (c) customer insurance policy numbers; and
(d) customer insurance policy documentation and investment portfolio information.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

20. All documents reflecting, relating or referring to any steps taken by MetLife to
preserve the information maintained on the hard drives of all of the desktop and laptop
computers supplied by MetLife to each of the following individuals for use in connection with
their employment by MetLife: (a) Jeffrey Adler; (b) Ann Beck; (c) Jeff Bishop; (d) Bruce Bitter;
(e) Ann Brennan; (f) Laura Davis; (g) John DeSimone; (h) Mary Patricia Ernst; (i) Annette
Hammortree; (j) Richard Henson; (k) James Hoeflinger; (1) Rhonda Jecman; (m) Justin
LaMonica; (n) Michael! O'Malley; (0) Tricia Overton; (p) Rathika Pathy; (q) Vinay

Phonunachanh; (r) Donald Sackow; (s) Kurt Tuzinkewich; (t) James Wilbert; (u) Greg Zastrow;
and (v) Leo Zimmerman.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections. -

21. All documents regarding any forensic analysis of computers and servers located at
MetLife’s Downers Grove Agency undertaken by or on behalf of MetLife during July 2005, to
determine which, if any, of the individuals listed in paragraph 31 of MetLife’s Amended
Complaint accessed the MetDirect database in May and June 2005 and downloaded and/or
copied MetDirect reports from that database.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,

MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.
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22. Any and all litigation holds, document preservation notices and/or other
communication(s) provided by MetLife to its personnel in connection with the claims asserted in
this litigation from January 1, 2005, through the present.

RESPONSE: MetLife objects to this request as untimely. Guardian failed to serve this request
within 30 days of the June 1, 2009 discovery cutoff date. Because this request is untimely,
MetLife does not here assert any other basis for objection and reserves the right to assert all other

objections.

Respectfully VO.

Michael J. Sheehan ~

Rachel B. Cowen

Richard S. Cozza

Drinker Biddle & Reath LLP

191 N. Wacker Drive, Suite 3700
Chicago, Ilmois 60606
Telephone: 312.569.1000 —

Dated: June 29, 2009 COUNSEL FOR PLAINTIFF
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 16 of 105 PagelD #:3916

CERTIFICATE OF SERVICE
I certify that on this 29"" day of June, 2009 I served via overnight and electronic mail the
foregoing MetLife’s Responses to Guardian’s Second Request for Production of Documents
upon the following:

Terrence P. Canade
Steven T. Whitmer
Bryan Deaton
Locke, Lord, Bissell & Liddell LLP

111 South Wacker Drive
Chicago, IL 60606-4410

(312) 443-0336 Fax
swhitmer@lockelord.com

tcanade@lockelord.com

Kimball Anderson
Marlon Emile Lutfiyya
Winston & Strawn LLP

35 W. Wacker Drive
Chicago, IL 60601
(312) 558-5858
kanderson@winston.com

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Virginia Richard
Winston & Strawn LLP
200 Park Avenue
New York, NY 10166
(212) 294-4639

vnichard@winston.com

|

Richard S. Cozzad )

CHOt/ 25352975.2
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 17 of 105 PagelD #:3917

EXHIBIT 3
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 18 of 105 PagelD #:3918

NASD DISPUTE RESOLUTION

 

METROPOLITAN LIFE INSURANCE
COMPANY,
Claimant,
Vv. NASD-DR No. 05-03694

THE GUARDIAN LIFE INSURANCE
COMPANY OF AMERICA, PARK AVENUE
SECURITIES LLC, a wholly owned subsidiary of
the Guardian Life Insurance Company of America,
MICHAEL K. O’MALLEY, LAURA L. DAVIS,
ANNETTE HAMMORTREE, and MARY
PATRICIA ERNST,

Respondents.

Name Nn Neer Neer eee ee Ne Cee Ne Neer! Nee” See Nae Ne Nu Ne See Nee” Nee’

 

RESPONDENTS’ FIRST INFORMATION REQUEST TO CLAIMANT METLIFE
Respondents Park Avenue Securities LLC (“PAS”), Michael K. O’Malley, Laura L.
Davis, Annette Hammortree, and Mary Patricia Emst serve this First Information Request which
claimant Metropolitan Life Insurance Company (“MetLife”) shall satisfy pursuant to NASD
Rule 10321.

Definitions

1. “MetLife’s Downers Grove Office” means the MetLife office at Downers Grove,
Nlinois (together with any remote or satellite offices, including Crystal Lake, which reported to
the Downers Grove office) that MetLife has placed at issue in this arbitration.

2, “Registered Representative” means a person engaged in sales of securities

products and registered with the NASD, including the individual Respondents to this arbitration.
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 19 of 105 PagelD #:3919

Documents Requested
General Issues

17. Documents upon which MetLife will rely to support its claim for damages at

hearing.
18. | Complete MetLife personnel files for each individual Respondent.

19. | Competition files and similar documents which reflect MetLife efforts to monitor

and/or to compete with PAS.

20. All email, notes, memoranda, and other documents which reflect communication
among personnel at MetLife’s Downers Grove Office concerning any of the arbitration and

litigation actions between MetLife and Respondents.

21. All email, notes, memoranda, and other documents which reflect communication
between anyone in MetLife’s Downers Grove Office, on one hand, and anyone (other than
MetLife counsel) outside of MetLife’s Downers Grove Office, on the other hand, concerning any

of the arbitration and litigation actions between MetLife and Respondents.

22. Reports, tables, search results, memoranda, notes, and other documents which
reflect efforts of MetLife — from January, 2005 to the present — to investigate, to search, or
otherwise to analyze computer records, computer equipment, electronic data, data storage

equipment, email, and/or network activity regarding any Respondent.

23, Documents sufficient to establish the nature, amounts, and dates of the
“considerable resources” that MetLife allegedly expended in marketing MetLife’s Downers

Grove Office, as alleged in MetLife’s Statement of Claim (at 2).
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 20 of 105 PagelD #:3920

67. All email, correspondence, memoranda, notes, and other documents which relate
to or otherwise reflect MetLife’s decision and/or efforts to file a U-5S statement which reflects

that MetLife terminated Ms. Ernst.

68. All company policies, personnel manual sections, memoranda, notices, and other
documents which establish MetLife procedures for completion of U-5 statements for former

employees of MetLife.

MetLife Material Issues

69. Specimens of each document wherein MetLife defines what constitutes

confidential or proprietary Client information.

70. All email, reports, analyses, and other documents which reflect efforts to analyze
files, hard drives, data storage, and/or network activity to determine whether any Respondent

misappropriated any MetLife material.

71. Reports, memoranda, notes, and other documents which reflect any MetLife

effort, from January, 2005 to the present, to compile lists of missing Client files.

72. All email, memoranda, notes, correspondence, contracts, and other documents
which pertain to MetLife’s efforts to maintain or to discontinue use of any telephone number in

connection with MetLife’s Downers Grove Office since January 1, 2004.

73. Documents which reflect any effort of MetLife formally to register the name or

logo of “O’Malley & Associates” with any federal, state or local agencies, including the NASD.
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 21 of 105 PagelD #:3921

74. | Specimen marketing materials (including television, print and internet

advertisements; print brochures; and form letters to Clients or potential Clients) for MetLife’s

Downers Grove Office since January 1, 2004.

Dated: August 30, 2006

Terrence P. Canade

Steven T. Whitmer

LORD, BISSELL & BROOK. LLP
111 South Wacker Drive

Chicago, Illinois 60606-4410
(312) 443-1862 (T.P. Canade)
(312) 443-1869 (S.T. Whitmer)

COUNSEL FOR RESPONDENTS

PARK AVENUE SECURITIES LLC,
MICHAEL K. O’MALLEY, LAURA L. DAVIS,
ANNETTE HAMMORTREE, and

MARY PATRICIA ERNST

 

One of Their Attorneys

15
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 22 of 105 PagelD #:3922

NASD DISPUTE RESOLUTION

 

METROPOLITAN LIFE INSURANCE
COMPANY,

Claimant,

Vv.
NASD-DR No. 05-03694
THE GUARDIAN LIFE INSURANCE
COMPANY OF AMERICA, PARK AVENUE
SECURITIES LLC, a wholly owned subsidiary of
the Guardian Life Insurance Company of America,
MICHAEL K. O’MALLEY, LAURA L. DAVIS,
ANNETTE HAMMORTREE, and MARY
PATRICIA ERNST,

CERTIFICATE OF SERVICE

i ad dd di i ad a ed i a a dl

Respondents.

 

The undersigned attorney, Steven T. Whitmer, certifies that on this 30th day of August,
2006, he caused a true and correct copy of the foregoing RESPONDENTS’ FIRST
INFORMATION REQUEST TO CLAIMANT METLIFE in the captioned matter to be
served by messenger upon the following:

Michael J. Sheehan

Connelly Sheehan Harris LLP

150 South Wacker Drive, Suite 1600
Chicago, Illinois 60606

NASD Dispute Resolution

c/o Edward T. Anderson, Senior Attomey
Midwest Region

55 West Monroe Street, Suite 2600
Chicago, Illinois 60603

hile

 

Terrence P. Canade

Steven T. Whitmer

LORD, BISSELL & BROOK LLP
111 South Wacker Drive

Chicago, Illinois 60606

(312) 443-1862 (T.P. Canade)
(312) 443-1869 (S.T. Whitmer)

COUNSEL FOR RESPONDENTS
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 23 of 105 PagelD #:3923

EXHIBIT 4
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 24 of 105 PagelD #:3924

Before the Financial Industry Regulatory Authority

O’MALLEY, LAURA L. DAVIS,
ANNETTE HAMMORTREE, JOHN
DESIMONE, and MARY PATRICIA
ERNST,

FINRA Arbitration
METROPOLITAN LIFE INSURANCE )
COMPANY, )
)
Claimant, )
)
v. )
) FINRA Dispute Resolution
) No. 05-3694
PARK AVENUE SECURITIES, LLC, )
a wholly owned subsidiary of )
The Guardian Life Insurance )
Company of Amenca, MICHAEL K. )
)
)
)
)
)
)
)

Respondents.

 

Claimant’s Response to Respondents’ Fifth Information Request
MetLife hereby responds to Respondents’ information request as follows:

Documents Requested

1. All emails, communications, files, correspondence, documents, notes, and records of
discussions relating to MetLife’s recruitment and hiring of representatives from PAS/Guardian
(“PAS Representatives”) from January 1, 1999 to the present, including but not limited to
Richard Siskey, George Avant, Jr., and /or Paul Candella.

Response: This request is unduly burdensome and irrelevant. First, MetLife does not
maintain records easily identifying its representatives’ prior employers. Rather, MetLife would

either have to manually search the personnel records of every agent who has worked for MetLife

in the last 10 years (20,589 reps hired in that timeframe). Altematively, MetLife would have to
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Response: Sabrina Cunningham first became a client through her employer’s (Saint
Anthony’s Health Center) 403b plan, which was previously opened through Citistreet, when
MetLife acquired Travelers in 2003. MetLife only provided services to Ms. Cunningham
through her 403b product. The MetLife agency that had responsibility for providing services to
Ms. Cunningham was MLR Office 27Q out of Carlinville IL. MetLife representative Steven

Griffin had and continues to have responsibility for providing such services to Ms. Cunningham.

3. State whether Sabrina Cunningham was at any time a client of Preferred Planning Group
or any representative affiliated at any time with Preferred Planning Group.

Response: Sabrina Cunningham was and continues to be a client of MetLife as described in
Response #2 above. Ms. Cunningham has never been a client of the Preferred Planning Group

based in the Greater Chicago area.

4. Identify with specificity any and all efforts taken by MetLife to preserve electronic data,
including email, related to this case.

Response:

Absent any suggestion that MetLife has failed to preserve evidence, this request is
urelevant. Over objection, MetLife suspends automatic mailbox deletions relevant to a
particular pending, threatened or likely lawsuit or government investigation, and MetLife
complies with SEC record-keeping requirements when deciding whether to retain or delete e-
mails and other records. Without a more detailed explanation of the category of information

Respondent alleges that MetLife failed to preserve, MetLife cannot provide more information.
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January ZT] , 2009

Respectfully submitted,

LIS Sebo)

Michael J. Sheehan “~ ,
Rachel B. Cowen

Michael S. Booher

Drinker Biddle & Reath LLP

191 N. Wacker Drive, Suite 3700
Chicago, IL 60606

(312) 569-1000
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 27 of 105 PagelD #:3927

Certificate of Service

ah
I certify that on this @ day of January, 2009, I caused the foregoing Claimant’s
Response to Respondents’ Fifth Information Request to be served via e-mail upon:

Terrence P. Canade
Steven T. Whitmer
Bryan Deaton
Locke, Lord, Bissell & Liddell LLP
111 South Wacker Drive
Chicago, IL 60606-4410
swhitmer@lockelord.com
tcanade@lockelord.com
bdeaton@lockelord.com

s/ Michael Booher
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EXHIBIT 5
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 29 of 105 PagelD #:3929

DEPOSITION OF JERALD STIEDAMAN —- June 4,

2009

 

 

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
METROPOLITAN LIFE }
INSURANCE COMPANY, )
Plaintiff, ) No. 06 C 5812
vs. )
THE GUARDIAN LIFE }
INSURANCE COMPANY OF
AMERICA, O'M &
ASSOCIATES LLC, DBA
O'MALLEY & ASSOCIATES,
Defendants.

The deposition of JERALD STIEDAMAN,
called for examination pursuant to the Rules of
Civil Procedure for the United States District
Courts pertaining to the taking of depositions,
taken before Mary Ellyn Andriopoulos-D'Andrea, a
notary public within and for the County of Cook
and State of Illinois, at 35 West Wacker,
Chicago, Illinois, Illinois, on June 4, 2009, at

the hour of 11:00 o'clock a.m.

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DEPOSITION OF JERALD STIEDAMAN - June 4, 2009
Page 6 Page 8fj
1 of documents dated May 29, 2009. 1 Insurance Company versus Park Avenue Securities}
2 (Whereupon, STIEDAMAN Deposition | 2 et.al, FINRA case number 05-3694 including but
3 Exhibit No. 2 was marked for 3 not limited to all handwritten notes, electronic
4 identification.) 4 notes, and other materials upon which the
5 BY MS. RICHARD: 5 information contained in the file inventory is
6 Q. Take a look at Exhibit 2, sir, and tell 6 based and any and all drafts or other versions
7 us tf you have seen that document before? 7 of Claimant's Exhibit 32.
8 A. [have seen portions, yes. 8 What documents, if any, did you review
9 Q. And what portions have you seen, sir? 9 with respect to that request?
10 A. [believe it was Page 4. 10 A. It was the Exhibit 32.
11 Q. So, you reviewed Page 4, is that 11 Q. Exhibit 32?
12. correct? 12 A. Yes.
13 A. [looked --I did look at this, yes. 13 Q. Yes.
14 Q. And when when was that, sir? 14 And what documents did you rely on to
15 A. That was this morning. 15 prepare Exhibit 32?
16 QQ. With respect to Item | on Page 4 all 16 A. Exhibit 32 was created based upon the
17 documents relating to the review of files 17 notes taken at the law office -- I am sorry, I
18 undertaken during July 2005 at the offices of 18 forgot the name of the law office -- in July
19 Piccone, Keeley & Associates, Ltd., in 13 of 2005 of the personal inventorty.
20 connection with the action entitled Metropolitan | 20 Q. And when you say notes taken, how were
21 Life Insurance Company versus DeSimone et.al. | 21 those notes taken?
22 Is the case title -- what documents, if any, did 22 A. There were two of us present at that
23 you review in connection with that item? 23 time. One was going through each of the return
24 A. We reviewed some of the -- or the 24 files and dictating to the other what was in
Page 7 Page Qff
1 documents of review that was produced in July 1 possession.
2 of 2005. 2 Q. Now, who was going through the files,
3 Q. What were those documents, sir? 3 and who was taking the notes?
4 A. It was a listing of all returned files 4 A. I was going through the files, and last
5S to -- | forgot the name of the law office in 5 name Dunfey was the one who was taking the notes
6 2005. 6 Q. Now, is Dunfey a male or female?
7 Q. And, to the best of your knowledge, is 7 A. Iam sorry he is male. I forget his
8 that the only document which exists with respect 8 first name.
9 to the investigation which you undertook of 9 Q. And when did this investigation of the
10 files at the offices of Piccone Keeley and 10 files commence?
11 Associates in July of 2005? 11 A. It was around July 7 or 8 of 2005, I
12 A. To my understanding, yes, that is 12 believe.
13 correct. 13 Q. And when you say one was dictating what
14 Q. And when was the last time you saw that 14 was in the files, and the other was taking
15 particular document? 15 notes, how were those notes being taken? {
16 A. This morning. 16 A. A lot of the files were returned in |
17 Q. And was it on its own without any other 17 banker's boxes. Take out a file from that |
18 documents? 18 banker's box and say -- this says Joe Smith DI, i
19 ~~ A. It was a printed out on its own, yes. 13 so a note would be taken: This box file one is
20 Q. Okay. And Paragraph 2, all documents 20 Joe Smith DI. :
21 relied upon, reviewed, or considered in 21 Q. And how were the notes taken, sir? ;
22 connection with the preparation of Claimant's 22 A. By hand. :
23 Exhibit 32 entitled "file inventory", which was 23 Q. So, Mr. Dunfey, was sitting -- was he
24 24 :

submitted in the matter Metropolitan Life

 

sitting next to you, was he sitting across from

 

3 (Pages 6 to 9)
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DEPOSITION OF JERALD STIEDAMAN - June 4, 2009
Page 10 Page 12

1 you; where was he in relation to you when he was {| 1 project?

2 taking these handwritten notes? 2 A. Mr. Dunfey then typed up the notes in

3 A. Close proximity. I mean he wasn't 3 word format, and that was sent on to me, and

4 standing right over my shoulder, but he was from | 4 also shared with --

Shere to there apart. 5 Q. Were you there when Mr. Dunfey typed up

6 Q. So, he wouldn't naturally see the name 6 the notes?

7 on the file or the contents on the file when you 7 A. I was not there when he typed up the

8 were taking the notes? 8 notes.

9 A. No, he did not. 9 Q. How do you know he typed up the notes?

10 Q. And did there come a time during this 10 A. They were labeled the same way we were

11 investigation when you and Mr. Dunfey switched | 11 labeling in the office. It was a direct listing

12. roles, or did you remain in your role of 12. of okay, this is Box 1, Box 2.

13 identifying the files throughout? 13 Q. But you don't know of your own personal

14 A. Iwas in the role of identifying the 14 knowledge that Mr. Dunfey actually did the

15 files throughout. 15 typing? K

16 Q. And how long did this process go on? 16 A. No -- did I physically watch him type

17 A. We were there all day. I would have to 17 the notes, no, [ did not.

18 say six to eight hours perhaps. 18 Q. Okay. So, at some point in time you

19 Q. And during this entire time was this 193 received a typewritten list of this inventory,

20 continuous? 20 is that correct?

21 A. It was continuous. There was no break, 21 A. That is correct.

22 correct. 22 Q. And approximately how much time elapsed i

23 Q. And during this entire time Mr. Dunfey 23 between the time you dictated the information

24 was taking handwritten notes? 24 concerning the files to Mr. Dunfey and you
Page 11 Page 13 i

1 A. That is correct. 1 received the typewritten list?

2 Q. And what was the volume of the 2 A. I would have to say that would be a |

3 handwritten notes that Mr. Dunfey created? 3 week or less. I don't recall the exact window

4 A. I would have to say he had a flip pad 4 of time.

5 eight to twelve pages perhaps. 5 Q. And where were you when you received

6 Q. And at the end of the day did you go 6 the list?

7 through Mr. Dunfey's notes to see if he 7 A. At the office of MetLife and Preferred

8 accurately recorded your dictation? 8 Planning Group.

9 A. Atthe end of the day there was no 9 Q. And did the list come in by mail or how
10 review, but I would check, and he would always |10 did it come? d
11. ask for is this correct to make sure that there 11 A. E-mail format.

12 was clarification when necessary. 12 Q. And it came to your attention?

13 Q. Okay. But at the end of the day you 13 A. Yes.

14 did not go through Mr. Dunfey's handwritten 14 Q. By e-mail.

15 notes to make sure that he had accurately 15 And who did it come from?

16 recorded your dictation? 16 A. Again I would believe Kevin Dunfey or

17 A. No, [ did not do a comprehensive 17 perhaps another member of counsel.

18 review. 18 Q. And did it come in your MetLife

19 Q. Did you do any review? 19 computer?

20 A. No. 20 A. Yes.

21 Q. Okay. Now, after you completed the 21 Q. You still have that computer?

22 review and Mr. Dunfey had this volume of eight | 22 A. [still have my Lotus notes, yes. I do
23 to twelve pages of handwritten notes, what 23 not have that computer anymore though, no. I
24

 

 

 

happened next with respect to this inventory

PRO
wh

 

have switched roles in the company.

4 (Pages 10 to 13)

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DEPOSITION OF JERALD STIEDAMAN - June 4, 2009
Page 14 Page 16}

1 Q. What do you mean you still have your 1 too much data. IT will automatically go in and :
2 Lotus notes? 2 delete e-mails?
3 A. [still have my e-mail account with 3 Q. So it's fair to say that certainly any
4 MetLife. Do I still have the computer I 4 e-mails relating to either one of these
5 received that file on? No, | do not. 5S proceedings that you may have received in 2005
6 Q. Do you still have e-mail that you 6 have been deleted?
7 received. 7 A. Yes, that would be fair to say.
8B A. No, I do not. 8 Q. And it's also fair to say any e-mails
9 Q. What happened to it? 9 you may have received with respect to any of

10 A. E-mails are automatically deleted after 10 those proceedings in 2006 are deleted?

11 acertain amount of time. 11 A. Correct.

12 Q. And you weren't told to retain any 12 Q. And the same is true for 2007?

13 e-mails relating to your investigation in this 13 A. Yes -- yes.

14 matter, ongoing court proceeding? 14 Q. And the same is true for 2008?

15 A. [ was not. 15 A. No.

16 Q. And were you told to retain any e-mails 16 Q. There would be e-mails relating to |

17 at all with respect to this court proceeding? 17 either of those proceedings from 2008? i

18 A. No. 18 A. [can't say for certain, but they would

19 Q. And did you receive a litigation hold 19 have not automatically been deleted.

20 from Drinker Biddle or any other counsel, 20 MR. SHEEHAN: Excuse me, Virginia, when you

21 in-house counsel for MetLife with respect to any | 21 get toa point, I need to take a break fora

22 correspondence electronic or hard copy with 22 second. I

23 respect to the ongoing court proceedings 23 MS. RICHARD: Fine.

24_ involving MetLife and Park Avenue Securities and} 24 MR. SHEEHAN: Is right now okay? i

Page 15 Page 17 t

1 MetLife and Guardian Life? 1 MS. RICHARD: Yes.
2 A. [do not recall receiving that. 2 MR.SHEEHAN: What I would like to do -- i
3 Q. Okay. So, is it fair to say that any 3 THE VIDEOGRAPHER: The time is 11:30, and we :
4 e-mails that you may have received with respect 4 are off the record. j
5 to either of those proceedings have been deleted 5 (Whereupon, a discussion was had i
6 from your e-mail account? 6 off the record.) i
7 A. Automatic deletion, it could have 7 THE VIDEOGRAPHER: Back on had record. The
8 happened, yes. 8 time is 11:32.
9 Q. Well, did it? 3 BY MS. RICHARD:

10 A. I don't know, perhaps. 10 Q. Okay.

11 Q. In this 30-day window that you have for 11 Now, when you received the typewritten

12. deletions? 12 list from someone unknown at Drinker Biddle, as

13 A. Has any deletions happened recently, 13 it was, I guess, then Connelly Sheehan,

14 no, but -- could you rephrase? I am sorry about 14 correct --

15 that. 15 A. Correct.

16 Q. Well, you said there was a 30-day 16 = Q. -- did you ask to see the handwritten

17 period for deletion, automatic deletions, 17 notes to compare the written notes with the

18 correct, on your e-mail account? 18 handwritten notes? i

19 A. No, no, no. [ am sorry, it's about 19. =A. _Idid not. :

20 18 months. 20 = Q. And since that day in mid July of 2005

21 Q. 18 months? 21 have you ever seen the handwritten notes

22 A. 18 months is how long e-mails will stay 22 regarding your investigation?

23 in Lotus notes, and then for size reasons 23 A. No.

24 24 Q._So, you received the typewritten list,

because they don't want e-mail accounts to have

 

 

 

5S (Pages 14 to 17)
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DEPOSITION OF JERALD STIEDAMAN - June 4, 2009
Page 54 Page 56
1 Davis’ missing files on or about June 29, 2005? 1 (Whereupon, STIEDAMAN Deposition
2 A. Yes, from what I was told of the coming 2 Exhibit No. 5 was marked for
3 in over the weekend and removing client files, 3 identification.)
4 and there was a subsequent conversation between | 4 BY MS. RICHARD:
5 Laura Davis and Dean Gregory that was party to? | 5 Q. Take a look at Exhibit 5, sir, and tell
6 Q. So, who told you that Laura Davis came 6 us if you have seen that?
7 in over the weekend and removed files? 7 A. | have.
8 A. Either Dean or Debbie, I am not sure 8 Q. And is that a document which you typed?
39 who, 9 A. Itis.
10 Q. And do you have any recollection of 10 Q. And did you type that from the
11 what in sum and substance they told you about 11 handwritten notes?
12. that circumstance? 12 A. Yes.
13 A. Nothing too detailed, because at that 13 Q. And where are those handwritten notes,
14 time it didn't really -- it didn't really impact 14 sir?
15 me at that point. That was a compliance and a 15 A. Ihave no idea at this point.
16 managing director issue. 16  Q. You weren't asked to retain them by
17 Q. Compliance in what respect, sir? 17 counsel?
18 A. Client files are a required compliance 18 A. No, I was not.
19 that you maintain them, so at that time it was 19 Q. And this document was typed up on your
20 an issue between the operation slash compliance | 20 MetLife computer, is that correct?
21 at MetLife Downers Grove and the manager 21 A. That is correct.
22 director, not with the training director. 22 Q. And would this document reside on your
23 Q. And who was in operations compliance at | 23 hard drive?
24 that time at Downers Grove? 24 A. No. [ have a new computer since then.
Page 55 Page 57
1 A. Name is now Debbie Forsythe, but at the 1 Q. When did you get your new computer?
2 time it was Debbie Covay-- 2 A. My computer crashed on about two years
3 Q. Debbie? 3 ago. So, June of '05, June, July, somewhere in
4 A. Covay, C-o-v-a-r. 4 there.
5 Q. Lask Miss Reporter to mark as 5 Q. Your computer crashed June or July
6 Exhibit 4 document which bears production D35 6 of 2000?
7 dated June 29, 2005; missing clients file. 7 A. 2005, yes. I was on the road for my
8 (Whereupon, STIEDAMAN Deposition 8 job.
9 Exhibit No. 4 was marked for 9 Q. And that would be the same computer on
10 identification.) 10 which you inventoried files?
11 BY MS. RICHARD: 11 A. Yes, correct.
12. = Q.. Take a look at Exhibit 4, sir, and tell 12 Q. Or that is the same computer in which
13 us if you have seen that before? 13 you created the list of missing files?
14 A. [have not. 14 A. That is correct.
15 Q. So this is not a document which you 15 Q. And so any draft of those lists are no
16 typed up? 16 longer available to us, is that right?
17 A. Itis not. 17 A. Well, the drafts of the MetDirect
18 Q. Iask Miss Reporter to mark Exhibit 5 a 18 report I believe we still have those electronic
13 document entitled summary of conversation 193 copies, yes.
20 between Dean Gregory and Laura Davis, Wednesday] 20 Q. But the drafts of your report are not
21 June 29, 2005, which bears production number 21 available?
22 D354 through D356. 22 A. Not that I am aware of.
23 23 Q. And the draft of this memo Exhibits 5
24 24

 

are not available?

 

 

 

15 (Pages 54 to 57)

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DEPOSITION OF JERALD STIEDAMAN - June 4, 2009
Page 58 Page 60
L A. No, not that | am aware of. 1 her are statement that the files she wrote with i
2 Q. Take a look at Exhibit 5 Paragraph 2, 2 Met are still in the office could have been
3 Ms. Davis stated that the files she wrote with 3 true, because you didn't do inventory at that
4 MetLife are still in the office. 4 time to determine whether or not her statement
5 Do you recall typing that, sir? 5 was correct?
6 A. [do. 6 A. At that time no. The comprehensive
7 Q. And did you do anything to verify Ms. 7 inventory was done later on.
8  Davis' statement that the files she wrote with 8 Q. And I understand that this document the
9 MetLife are still in the office? 9 summary of conversation between you and Gregory]
10 A. That would be what we cross referenced 10 and Laura Davis which you prepared was done at
11 for the files we had. 11. the request of counsel, is that correct?
12 Q. Well, now I am not talking about that. 12 A. Dean Gregory walked into my office,said
13 [am talking about as of June 29, 2005 Ms. Davis [13 come into my office, take good notes, you are l
14 made this statement which you recorded? 14 going to need to summarize this conversation. I
15 A. Yes. 15 didn't know at whose direction it was beyond
16 Q. The files she wrote with MetLife were 16 that.
17 still in the office. Did you do anything to 17 Q. And once you had taken the notes and
18 verify that statement? 18 prepared this memorandum, what did you do with
19 A. At that exact moment I don't know if we 19° it?
20 did anything at that time. 20 A. Sent it down to Dean Gregory, and from
21 Q. Is there some reason why you didn't 21 there I would imagine he passed it on to
22 take any action to determine whether or not Ms. 22 counsel.
23 Davis was being truthful when she said that the 23 Q. Well, do you know what he did with it?
24 files she wrote with MetLife are still in the 24 A. [cannot guess what he did with it.
Page 59 Page 61
1 office? 1 Q. Okay.
2 A. I would have gone on the direction of 2 And once you gave it to Mr. Gregory did
3 the manager, not something I would certainly do 3 he provide you with any comment on this summary?
4 onmy own. 4 A. No, there was no, no nothing else done.
5 Q. But I thought you earlier testified 5 Q. And from that day which was June 29, |
6 that you popped open Laura Davis' files? 6 2005, 2005 to this day have you had any
7 A. I didn't do inventory. The filing 7 conversation at all with Mr. Gregory with
8 cabinet was empty except for marketing 8 respect to this?
9 materials, but was inventory done? No, it was ] A. With this conversation --.
10 not. 10 Q. With this memo Exhibit 5?
11 Q. And did you just look in one file? il A. I can't recall any, no.
12 A. She had -- 12 Q. He didn’t ask you to follow up to
13 Q. File drawer? 13 determine whether any of the statements that Ms. |}
14 A. She had a row of them. 14 Davis had provided during this conversation were :
15 Q. Did you look in every single one? 15 factually accurate?
16 A. Yes, we did. But we did not inventory 16 A. The follow up took place later.
17 at that time. 17 Q. Didn't do any follow-up to see whether
18 Q. So, there could have been files? 18 or not she did not retain client files on joint
19 A. [nventory was done after that, not at 13 work case if she wasn't really a producer?
20 that time. 20 A. [don't recall that.
21 Q. But I am saying that at the time you 21 Q. And later on did you ever do any i
22 popped open her file -- 22 investigation to determine whether or not Ms. i
23 A. No, inventory -- correct. 23 Davis did not retain client files on joint work
24

Q._No inventory was taken and, in fact,

 

ph
a

cases if she wasn't a producer?

 

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lo (Pages 58 to 61)
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EXHIBIT 6
Cd Be: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 36 of 105 PageID #:3936

IN THE CIRCUIT COURT FOR THE EIGHTEENTH JUDICIAL CIRCUT
DuPAGE COUNTY, ILLINOIS

METROPOLITAN LIFE INSURANCE
COMPANY,

Plaintiff,

 

Vv. Case No 05 CH 0912
JOHN C, DESIMONE, THE GUARDIAN LIFE
INSURANCE COMPANY OF AMERICA,
MICHAEL K. O’MALLEY, ANNETTE
HAMMORTREE, LAURA L. DAVIS, MARY
PATRICIA ERNST, KATIE LEMMING, and
JOHN DOES 1-10,

Semel yee Saget ial eet Nee” Sem ee eel Saget” ane Nnee” Nene” “eee “ee”

Defendants.

MOTION OF DEFENDANT LAURA L. DAVIS TO REQUIRE
RETURN OF PERSONAL COMPUTERS

NOW COMES Defendant LAURA L. DAVIS ("Davis"), by and through her at! omeys
Piccione, Keeley & Associates, Ltd., and for her Motion to Require “he Plaintiff t:: return

her personal computers, states as follows:

1. On or about June 30, 2005, DAVIS’ employment with Plain :iff terminate 4.

2. On or about June 30, 2005, DAVIS turned over to Pla'nt ff DAVIS’ thee (3)
personal computers, including two desktop computers and a laptop cor 1puter,
pursuant to Plaintiff's demand to de-image her computers ¢f MetLife so tware.

3. On or about June 30, 2005, Plaintiff represented to DAV'S that the de-iinaging

, KEELEY .
PIccione, KEELEY process of her three personal computers would take a couple days
:8. COUNTY FARM RAD.
HEATON, IL 60187-4523
FACSIMILE
630/653-8029

TELEPHONE 4. To date, twelve (12) days after DAVIS provided her three »e sonal comp iters to

630/653-8000

 

 

 
Cae: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 37 of 105 PagelD #:3937

Piccione, KEELEY

& Associares, Ltn.

2S. GOUNTY FARM RO.

HEATON, [i 60197-4523

FACSIMILE

930/653-8029
TELEPHONE
690/659-8000

 

 

10.

11.

- 42.

Plaintiff, and despite numerous demands by DAVIS ard counsel for DAVIS,

Plaintiff has failed to retum DAVIS’ personally-owned co nputers to her.

On or about July 6, 2005, counsel for DAVIS demanded thiat her compi. ters be
returned to her by July 8, 2005. A copy of counsel for DAVIS’ correspo idence
dated July 6, 2005 is attached and incorporated herein as |=xhibit 1.

Counsel for Plaintiff responded to the July 6, 2005 corresponden:e and
represented to counsel for DAVIS that the computers would be retu ned to
DAVIS by Tuesday, July 12, 2005.

Plaintiff failed to return DAVIS’ computers on July 12, 2C05 and coulisel for
Plaintiff stated that they were still checking on the status of the computer 3 which
were sent to New York.

DAVIS’ computers are necessary and crucial for her to operate in her business.

Another representative of Plaintiff, who was terminated, had his comps ter de-
imaged by Plaintiff in its Rockford, Illinois office in less “han two (2) hours.

Plaintiff has a disc that removes its programs for computers.

ANNETTE HAMMORTREE, another Defendant in this acticn, had her p2rsonal
computer de-imaged in the State of Illinois in a couple of hours by an outside

computer specialist.

Given the fact that the Court has ordered that the Defendants returii all of
Plaintiff's documents to Plaintiff, it is only fair that Plaintif be required t: return
DAVIS’ three computers, which are owned by DAVIS and rot Plaintiff.

Given the fact that Plaintiff sent DAVIS’ computers to New York and has liad her

2

 
Piccione, KEELEY
kh AssociaTes, Lro.
2S. GOUNTY FARM RD.
HEATON, IL 60187-4824
FACSIMILE
690/653-5029

TELEPHONE
630/653-8000

 

 

Dated: July 12, 2005

Be: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 38 of 105 PagelD #:3938

computers for almost two (2) weeks, we believe Plaintiff is searching DAVIS’
personal computers. This would be improper and potentially an invé sion of
privacy as DAVIS gave Plaintiff permission only to de-imaye her comp iters of
Plaintiffs software and Plaintiff never issued a subpoena to have access to all of

DAVIS’ personal files on her computers.

WHEREFORE, Defendant LAURA L. DAVIS, respectfully requests this Honorab e Court
to enter the following relief:
A.

An Order requiring Plaintiff to return to counsel for LAURA L.. DAVIS all tliree (3)
of her personal computers, including the two desktop computers anc laptop
computer to the law firm of Piccione, Keeley & Associa‘es., Ltd. within two (2)

days; and

And any other relief this Court deems ju d prop

  
 
   

 

ick C. Keéley
One of the(Attorneys for cieiehiants ohn C,
DeSimone, afimortree, Liura L.
Davis, Mary Patricia Err st and Katie Le mming

PICCIONE, KEELEY & ASSOCIATES, LTD.

Attomeys of Record for Cefendants, . ohn C.
DeSimone, Annette Hammortree, Li ura L.
Davis, Mary Patricia Emst and Katie Le mming

Atty. No. 66178

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Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 39 of 105 PagelD #:3939

EXHIBIT 7
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 40 of 105 PagelD #:3940

(IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

METROPOLITAN LIFE INSURANCE
COMPANY,

Plainulf,

Vv. Case No. 06 C 5812
THE GUARDIAN LIFE INSURANCE
COMPANY OF AMERICA,

OM & ASSOCIATES LLC,

DBA O’MALLEY & ASSOCIATES,

Judge Charles R. Norgle
Magistrate Judge Martin C. Ashman

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Defendants.

DECLARATION OF LAURA DAVIS
IN SUPPORT OF GUARDIAN’S MOTION TO COMPEL

1, Laura Davis, declare, under penalty of perjury, as follows:

1, On June 30, 2005, I completed my tenure as an employee of the plaintiff
Metropolitan Life Insurance Company (“MetLife”) at MetLife’s Downers Grove, Illinois
agency.

2. On June 30, 2005, I visited MetLife’s Downer Grove office to comply with a
request from office Managing Director Dean Gregory that I return for inspection approximately
10 boxes of materials that I arranged to have removed from the office days earlier. | met with
Mr. Gregory who asked that the materials be placed in his office for inspection. During my
visit, MetLife personnel inspected the contents of each box, removed certain items and returned
to my possession most of the material. MetLife provided me with a handwritten inventory of

the items returned to my possession; however, MetLife did not provide me with an inventory of

the items that it removed during the visit.
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 41 of 105 PagelD #:3941

3. Upon my departure from MetLife, I left client files at MetLife’s offices.
MetLife did not provide me with an inventory of those client files.

4, On June 30, 2005, Talso surrendered to MetLife’s agency management
possession of three computers which | owned and used during my tenure at MetLife. | did not
receive a receipt acknowledging MetLife’s possession of the computers.

5. MetLife retained my computers for approximately two weeks and, upon their
return, inspection revealed that all MetLife data and all software programs had been deleted
from my computers. MetLife did not provide me or my counsel with copies of the material

deleted nor an inventory of the data removed from the computers.

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Com ae oe Af
Dated: j Co) “ey . 2009 Lot hecee, FW OE nnn

 

/ Laura Davis

~ declare under penalty of perjury,
pursuant to 28 U.S.C. $1746, that
the foregoing ts true and correct.
 

Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 42 of 105 PagelD #:3942

EXHIBIT 8
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 43 of 105 PagelD #:3943

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

METROPOLITAN LIFE INSURANCE
COMPANY,

Plaintiff,

Case No. 06 C 5812

Vv.

THE GUARDIAN LIFE INSURANCE Judge Charles R. Norgle
COMPANY OF AMERICA, Magistrate Judge Martin C. Ashman
O’M & ASSOCIATES LLC,

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DBA O’MALLEY & ASSOCIATES, )
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Defendants.

DECLARATION OF ANNETTE HAMMORTREE
IN SUPPORT OF GUARDIAN’S MOTION TO COMPEL

I, Annette Hammortree, declare, under penalty of perjury, as follows:

1. On June 30, 2005, | resigned as an employee of the plaintiff Metropolitan Life
Insurance Company (“MetLife”) at MetLife’s Downers Grove, Hlinois agency.

2. On June 29, 2005, immediately prior to my resignation, I received a request
from MetLife Managing Director Dean Gregory to deliver to MetLife’s Downers Grove office
client files which I had permission to maintain at my detached office in Crystal Lake, Hlinois.
On June 30, 2009, in compliance with that request, I delivered several boxes of files to
MetLife’s Downers Grove office. During the time that I was there, I did not observe, and I am
not aware that any MetLife personnel reviewed the contents of those boxes. MetLife did not

provide me with an imventory of the materials that I delivered.
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 44 of 105 PagelD #:3944

 

3. Upon my resignation, MetLife retained possession of two desktop computers
which my assistants used at MetLife. I did not receive an inventory of the data on those

computers.

 
   

Dated: se Z 3 , 2009

Annette Hammortree

I declare under penalty of perjury,
pursuant to 28 U.S.C. §1746, that
the foregoing is true and correct.
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 45 of 105 PagelD #:3945

EXHIBIT 9
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 46 of 105 PagelD #:3946
Case 1:06-cv-05812 Document 196-2 Filed 07/20/2009 Page 1 of 20

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
METROPOLITAN LIFE )
INSURANCE COMPANY, )
j Case No. 06 C 5812
Plaintiff, )
) Judge Charles R. Norgle
V. )
) Magistrate Judge Martin C. Ashman
THE GUARDIAN LIFE INSURANCE )
COMPANY OF AMERICA, )
O’M & ASSOCIATES LLC, DBA )
O’MALLEY & ASSOCIATES )
)
Detendants. J

METLIFE’S MEMORANDUM IN SUPPORT OF ITS
MOTION FOR ENTRY OF PROTECTIVE ORDER

L. Introduction

Guardian Life Insurance of America (“Guardian”) has served a 10-page, 29-category
30(b)(6) notice which primarily, and improperly, challenges MetLife to designate a witness
capable of recalling 6,000 pages of testimony and 10,000 pages of documentary evidence in
deposition. This is not the purpose of 30(b)(6) deposition. See Kent Sinclair and Roger P.
Fendrich, Discovering Corporate Knowledge and Contentions: Rethinking Rule 30(b)(6) and
Alternative Mechanisms, 50 Ala. L. Rev. 651, 701 (1999)(explaining that the purpose of Rule
30(b)(6) does not support the discovering party’s request asking a corporation “to produce every
document, and recall every fact, conception, intention, understanding, belief and sense
impression relevant to all of the issues in the case”)(citations and quotations omitted), MetLife
has offered to provide Guardian with all the information it seeks via answers to interrogatories

and responses to document requests. But Guardian refuses. Because their request is clearly
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 47 of 105 PagelD #:3947
Case 1:06-cv-05812 Document 196-2 Filed 07/20/2009 Page 18 of 20

that testimony, Guardian’s counsel briefly questioned Wheeler about MetLife’s theory of relief
(just 5 pages of testimony). Wheeler acknowledged he had no hand in McNally’s restitution
analysis. (11/29/07 FINRA Hearing Tr., pp. 1558-59, attached as Exhibit T). In fact, Wheeler
testified he never even met McNally:

Q. Have you had any conversations at all with MetLife’s
expert for this case?

A. I have not.
Q. Do you know who MetLife’s expert is?
A. I do not.

(Id. at 1559). At that point, Guardian’s counsel moved on. MetLife’s theory of relief has not
changed since Wheeler testified in the FINRA arbitration. Guardian’s counsel’s cursory
examination of Wheeler on this issue clearly shows Guardian did not view Mr. Wheeler’s
testimony as critical then, and it should not be allowed change positions now.

Cc. Guardian Is Not Entitled To William Tucek’s Deposition.

Guardian also seeks to depose William Tucek, a former member of MetLife’s IT
Department, who currently resides in Indianapolis, Indiana. (Exh. D, Tucek Subpoena).
MetLife identified Tucek in response to the FINRA Respondents’ broad information request
seeking the identity of MetLife employees “who conducted an analysis or investigation of
computer records, computer equipment, electronic data, data storage equipment, email, and/or
network activity of any Respondent from January, 2005 to the present.” (MetLife’s
Supplemental Answer to Respondents’ First Information Request No. 13, attached as Exhibit U).
Guardian should be precluded from deposing Tucek now for two reasons.

First, Tucek has no relevant information. His role in this case was purely ministerial. At

the direction of MetLife’s counsel, Tucek gathered emails from the former agents’ inboxes and

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Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 48 of 105 PagelD #:3948
Case 1:06-cv-05812 Document 196-2 Filed 07/20/2009 Page 19 of 20

put them in a database for MetLife’s counsel to review. He did not select whose emails should
be reviewed or any parameters regarding the scope of the review. Nor did Tucek perform any
type of independent analysis.

Second, even if Tucek has relevant information, his testimony will likely be cumulative
of MetLife’s Rule 30(b)(6) witnesses testimony. MetLife has informed Guardian’s counsel that
MetLife will designate a Rule 30(b)(6) witness to testify about any analysis of MetLife’s
computer systems in relation to this case. This individual will be capable of explaining the
process Tucek used in gathering emails. Notwithstanding MetLife’s proffer, Guardian insists on
deposing this former MetLife employee in Indianapolis, Indiana. At the very least, this Court
should hold Tucek’s deposition in abeyance until after MetLife produces a Rule 30(b)(6) witness
on the subject.

IV. Conclusion

For the forgoing reasons, this Court should grant MetLife’s motion for entry of a
protective order striking topic Nos. 1-2, 9-20, and 26-28 of Guardian’s Rule 30(b)(6) deposition
notice and prohibiting Defendants from deposing William Wheeler, Dean Gregory and Deborah
Covey Forsythe, and William Tucek.

Respectfully submitted,

/s/ Rachel Cowen
Michael J. Sheehan
Rachel B. Cowen
Drinker Biddle & Reath LLP
191 N. Wacker Drive, Suite 3700
Chicago, Illinois 60606
Telephone: 312.569.1000

Dated: July 20, 2009 COUNSEL FOR PLAINTIFF

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Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 49 of 105 PagelD #:3949

EXHIBIT 10
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 50 of 105 PagelD #:3950

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TRANSCRIBED FRCM DIGITAL RECORDING

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

RASTERN DIVISTON

METROPOLITAN LIFE INSURANCE COMPANY,
Plaintiff,
vs.
THE GUARDIAN LIFE INSURANCE COMPANY

OF AMERICA, O'M & ASSOCIATES LLC,
d/b/a O'Malley & Associates,

No. 06 C 5812

Chicago, Illinois

 

Defendants.

July 7, 2009

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) 10:26 A.M.

TRANSCRIPT OF PROCEEDINGS - Status and Motions
BEFORE THE HONORABLE MARTIN C. ASHMAN, Magistrate Judge

APPEARANCES :

For the Plaintiff:

For Defendant Guardian:

ALSO PRESENT:

DRINKER BIDDLE & REATH LLP

191 North Wacker Drive

Suite 3700

Chicago, Illinois 60606

BY: MR. MICHAEL JAMES SHEEHAN
MS. RACHEL BETH COWEN

WINSTON & STRAWN LLP

35 West Wacker Drive

Chicago, Illinois 60601-9703

BY: MR. KIMBALL RICHARD ANDERSON
MR. MARLON FMILE LUTFIYYA

Ms. Kara Kapp

PAMELA S. WARREN, CSR, RPR
Official Court Reporter
219 South Dearborn Street

Room 1928

Chicago, Illinois 60604

(312) 294-8907

NOTE: Please notify of correct speaker identification.

 

 
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Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 51 of 105 PagelD #:3951
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APPEARANCES: (Continued)

For Defendant O'M: LOCKE LORD BISSELL & LIDDFLL LLP
111 South Wacker Drive
Chicago, Illinois 60606
BY: MR. TERRENCE PATRICK CANADE
MR. STEVEN TODD WHITMER

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THE COURT: I read the docket. And I don't see any
closing -- any order which closes discovery on Jume 1 -- I
think it was June 1.

MS. COWEN: There is no order?

MR. KIMBALL: There wasn't --

THE COURT: I don't see any order.

MR. KIMBALL: There wasn't any, which is our point
precisely. We'd like to go ahead with these depositions, one
of which is their damage expert that they have submitted a
damage expert report under Rule 26 a month ago.

MS. COWEN: My suggestion was going to be that you set
this for a status. Between now and the status maybe the
parties can try and work out an appropriate discovery schedule
and try and craft what is going to be the scope of discovery.
Is it going to be unfettered depositions? Is it going to be
some agreement that we're not going to redo?

THE COURT: All right. Okay.

MS. COWEN: And then we'll come back before your Honor

THE COURT: I think --

MS. COWEN: -- at the status.

THE COURT: JI think that is correct. What is needed
is a conference -- I forget, the Rule 16 -- Rule 16
conference. And that's the way you set up the rest of this
discovery. I don't know if there is -- if you had that --

 

 
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MR. KIMBALL: We had it, your Honor.
THE COURT: You had it?
MR. KIMBALL: We had it.
THE COURT: -- at the beginning. But it is disrupted

now.

MR. KIMBALL: We had it before we filed these motions,
fairly shortly before we filed these motions. And --

THE COURT: But you --

MS. COWEN: We have not --

MR. KIMBALL: -- the plaintiff's position was no
discovery at all of MetLife based on what -- their view that
there was a June 1 discovery cutoff. Our view is that there
was never, ever such a cutoff.

MR. SHEEHAN: Your Honor --

THE COURT: ‘There is no --

MR. SHEEHAN: Your Honor --

THE COURT: -- cutoff, as far as I'm concermed. I
have read all the papers on that. There is no cutoff, no June
1 cutoff.

I read everything that you folks submitted, and I
cannot find a June 1 cutoff. Therefore there isn't any.

Okay? Therefore all discovery is still open. That takes care
of a lot of problems, I think.

MR. KIMBALL: That takes care of really all of our
problems, I think.

 

 
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THE COURT: Okay. That's fine.
Okay. Good. Now let's go off the record for a
moment .
(Discussion off the record.)
(Which concluded the proceedings in the above-entitled
matter. )
CERTIFICATE
I HEREBY CERTIFY that the foregoing is a true, correct
and complete transcript of the proceedings had at the hearing

of the aforementioned cause on the day and date hereof.

/s/ Pamela S Vérren July 8, 2009
Official Court Reporter Date
United States District Court

Northem District of Illinois

Eastern Division

 

 
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 55 of 105 PagelD #:3955

EXHIBIT 11
Case: PEE Sv-GBETs Bo clineh HUIS Higa: BESSY AYLO98 of Teepdgeid #3956

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
METROPOLITAN LIFE )
INSURANCE COMPANY,
)
Plaintiff, ) Case No.: 06 C 5812
¥.
Judge Charles R. Norgle

THE GUARDIAN LIFE INSURANCE )
COMPANY OF AMERICA, : Martin C. Ash
O’M & ASSOCIATES LLC. DBA ) Magistrate Judge Martin C. Ashman
O’MALLEY & ASSOCIATES )

Defendants. )

ORDER

Pursuant to a motion hearing held on July 7, 2009, it is hereby ordered:

1. The Guardian Life Insurance Company of America’s (“Guardian”) Motion to
Strike and for Other Relief (D.E. 177) is denied without prejudice.

2. Metropolitan Life Insurance Company’s (“MetLife”) Motion to Extend the
Briefing Schedule On the Motions for Partial Summary Judgment and Sanctions (D.E. 171) is
granted as follows.

a. On or before July 24, 2009, Defendants shall make images of the
unallocated spaces on the “Hutch” and “Yoda” servers (collectively the
“Server Images”), available for MetLife’s review, pursuant to the
previously agreed protocol used by the parties to review computer images;

b. On or before August 4, 2009, MetLife’s expert Chad Gough shall

complete his review of the Server Images;

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c. If, as a result of Mr. Gough’s review of the Server Images, Mr. Gough
wishes to amend his expert report dated May 15, 2009, as supplemented
on June 4, 2009, MetLife shall present a motion seeking leave to amend
such report, along with the proposed amended report, for hearing on
August 10, 2009 at 10:00 a.m.;

d. MetLife shall produce Mr. Gough for a deposition on or before August 18,
2009; and

e. Defendants shall respond to MetLife’s Motion for Partial Summary
Judgment on Count VI: Misappropriation of Trade Secrets (D.E. 111) and
MetLife’s Motion for Sanctions (D.E. 114) on or before the latter of
August 28, 2009 or ten days after the completion of the deposition of Mr.
Gough.

f. Any replies that MetLife may file in support of its Motion for Partial
Summary Judgment on Count VI: Misappropriation of Trade Secrets or
Motion for Sanctions are due fourteen days after Guardian’s responses to
those motions.

3. Guardian’s Motion to Deem Requests Admitted, to Compel and for Other Relief
(D.E. 188) will be withdrawn without prejudice provided that:
a. Guardian receives answers from MetLife to Guardian’s Second Request
for Admissions, dated May 31, 2009, by August 6, 2009;
b. Guardian receives responses from MetLife to Guardian’s Second Request

for Production of Documents, dated May 31, 2009, by August 6, 2009; and
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c. Guardian receives from MetLife (1) all documents responsive to
Guardian’s Second Request for Production of Documents, dated May 31, 2009, and (2) a
privilege log describing all documents MetLife has withheld from any production on the
basis of privilege, by August 6, 2009.

4. Guardian’s Motion to Compel the Deposition of MetLife’s Expert, Patrick
MeNally (D.E. 154), will be withdrawn without prejudice provided that MetLife produces Mr.
McNally for deposition on or before August 28, 2009.

5. By agreement of the parties, it is hereby further ordered:

a. Discovery does not close on June 1, 2009.

b. All discovery shall be completed on or before October 5, 2009.

c. The parties shall continue to adhere to a limit of ten (10) depositions per

side.

d. MetLife shall produce Dan Shaffer for a deposition on or before July 31,

2009, but in any event no later than August 15, 2009.

e. With respect to Guardian’s Motion to Compel Rule 30(b)(6) Testimony
(D.E. 146) and Guardian’s Motion to Compel the Depositions of Dean
Gregory, Deborah Covey Forsythe and William Wheeler (D.E. 158):

(i) On or before July 20, 2009, MetLife shall designate one or more
witnesses to testify regarding the topics listed in Guardian’s Notice
of Rule 30(b)(6) deposition, dated May 26, 2009 (“Rule 30(b)(6)
Notice”);

(ii) | The parties shall meet and confer on or before July 15, 2009 to

resolve any differences that might arise in connection with
Case: 1.68-cv-08842 Bocti

Dated:

Scuiment $e PS Enea: oBNPIGY PAGLOS of FASB AGeIG #:3059

(iii)

MetLife’s response to Guardian’s Rule 30(b)(6) Notice and
Guardian’s Motion to Compel the Depositions of Dean Gregory,
Deborah Covey Forsythe and William Wheeler; and

In the event that the parties are unable to resolve any differences
that might arise in connection with Guardian’s Rule 30(b)(6)
Notice and/or Guardian’s notices of the depositions of Dean
Gregory, Deborah Covey Forsythe and William Wheeler, MetLife
shall file a motion for a protective order on or before July 20,
2009. Defendants must submit any written response to such a
motion on or before July 27, 2009 and may seek a ruling on
Guardian’s Motion to Compel Rule 30(b)(6) testimony (D.E. 146).
MetLife must submit any reply in support of a motion for a

protective order on or before August 3, 2009.

This matter is set for status on July 20, 2009 at 10:15 a.m.

JUL 2.0 2009

ENTERED:

~ Cpe -

Magistrate Judge Martin C. Ashman
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 60 of 105 PagelD #:3960

EXHIBIT 12
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 61 of 105 PagelD #:3961

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
METROPOLITAN LIFE )
INSURANCE COMPANY, )
)
Plaintiff, )
)
Vv. ) Case No. 06 C 5812
)
THE GUARDIAN LIFE INSURANCE ) Judge Charles R. Norgle
COMPANY OF AMERICA, ) Magistrate Judge
O’M & ASSOCIATES LLC, DBA ) Martin C. Ashman
O’MALLEY & ASSOCIATES )
)
Defendants. )

MetLife’s Supplemental Responses to
Guardian’s Second Request For Admissions

Plaintiff Metropolitan Life Insurance Company (“MetLife”) responds to Defendant The
Guardian Life Insurance Company of America’s (“Guardian”) Second Request For Admissions
as follows:

GENERAL OBJECTIONS
MetLife objects to Guardian’s Instructions and Definitions to the extent they impose

burdens and requirements that are different from, or broader than those imposed by the Federal

Rules of Civil Procedure.
RESPONSES
lL. MetLife presently does not have in its possession a copy of the data or other

information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Jeffrey Adler for use in connection with his employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Mr. Adler’s hard

drive at the time of his resignation because every bite of data on Mr. Adler’s desktop and/or
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 62 of 105 PagelD #:3962

laptop computers was not relevant to this litigation. MetLife adds that information on Mr.
Adler’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.

2. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Ann Beck for use in connection with her employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Ms. Beck’s hard drive
at the time of his resignation because every bite of data on Ms. Beck’s desktop and/or laptop
computers was not relevant to this litigation. MetLife adds that information on Ms. Beck’s
computers may have been preserved elsewhere and that absent a more specific description of the
information Defendants seek, MetLife cannot admit or deny whether it is in possession of such

data.

3. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Jeff Bishop for use in connection with his employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Mr. Bishop’s hard
drive at the time of his resignation because every bite of data on Mr. Bishop’s desktop and/or
laptop computers was not relevant to this litigation. MetLife adds that information on Mr.
Bishop’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in
possession of such data.

4. MetLife presently does not have in its possession a copy of the data or other

information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Bruce Bitter for use in connection with his employment by MetLife.
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 63 of 105 PagelD #:3963

RESPONSE: MetLife admits it did not make a bit by bit image of Mr. Bitter’s hard
drive at the time of his resignation because every bite of data on Mr. Bitter’s desktop and/or
laptop computers was not relevant to this litigation. MetLife adds that information on Mr.
Bitter’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.

5. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Ann Brennan for use in connection with her employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Ms. Brennan’s hard
drive at the time of his resignation because every bite of data on Ms. Brennan’s desktop and/or
laptop computers was not relevant to this litigation. MetLife adds that information on Ms.
Brennan’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.

6. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Laura Davis for use in connection with her employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Ms. Davis’ hard drive
at the time of his resignation because every bite of data on Ms. Davis’ desktop and/or laptop
computers was not relevant to this litigation. MetLife adds that information on Ms. Davis’
computers may have been preserved elsewhere and that absent a more specific description of the
information Defendants seek, MetLife cannot admit or deny whether it is in possession of such

data.
~ Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 64 of 105 PagelD #:3964

7. MetLife presently does not have in its possession a copy of the data or other
infomiation maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to John DeSimone.

RESPONSE: MetLife admits it did not make a bit by bit image of Mr. DeSimone’s hard
drive at the time of his resignation because every bite of data on Mr. DeSimone’s desktop and/or
laptop computers was not relevant to this litigation. MetLife adds that information on Mr.
DeSimone’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.

8. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Mary Patricia Ernst for use in connection with her employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Ms. Emst’s hard drive
at the time of his resignation because every bite of data on Ms. Ermst’s desktop and/or laptop
computers was not relevant to this litigation. MetLife adds that information on Ms. Ernst’s
computers may have been preserved elsewhere and that absent a more specific description of the
information Defendants seek, MetLife cannot admit or deny whether it is in possession of such

data.

9. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Annette Hammortree for use in connection with her employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Ms. Hammortree’s
hard drive at the time of his resignation because every bite of data on Ms. Hammortree’s desktop
and/or laptop computers was not relevant to this liti gation. MetLife adds that information on Ms.

Hammortree’s computers may have been preserved elsewhere and that absent a more specific
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description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.

10. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Richard Henson for use in connection with his employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Mr. Henson’s hard
drive at the time of his resignation because every bite of data on Mr. Henson’s desktop and/or
laptop computers was not relevant to this litigation. MetLife adds that information on Mr.
Henson’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.

11. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to James Hoeflinger for use in connection with his employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Mr. Hoeflinger’s hard
drive at the time of his resignation because every bite of data on Mr. Hoeflinger’s desktop and/or
laptop computers was not relevant to this litigation. MetLife adds that information on Mr.
Hoeflinger’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.
12. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by

MetLife to Rhonda Jecman for use in connection with her employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Ms. Jecman’s hard

drive at the time of his resignation because every bite of data on Ms. Jecman’s desktop and/or
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laptop computers was not relevant to this litigation. MetLife adds that information on Ms.
Jecman’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.

13. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Justin LaMonica for use in connection with his employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Mr. LaMonica’s hard
drive at the time of his resignation because every bite of data on Mr. LaMonica’s desktop and/or
laptop computers was not relevant to this litigation. MetLife adds that information on Mr.
LaMonica’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.

14. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Tricia Overton for use in connection with his employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Ms. Overton’s hard
drive at the time of his resignation because every bite of data on Ms. Overton’s desktop and/or
laptop computers was not relevant to this litigation. MetLife adds that information on Ms.
Overton’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.

15. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Rathika Pathy for use in connection with her employment by MetLife.
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RESPONSE: MetLife admits it did not make a bit by bit image of Ms. Pathy’s hard
drive at the time of his resignation because every bite of data on Ms. Pathy’s desktop and/or
laptop computers was not relevant to this litigation. MetLife adds that information on Ms.
Pathy’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.

16. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Vinay Phommachanh for use in connection with his employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Mr. Phommachanh’s
hard drive at the time of his resignation because every bite of data on Mr. Phommachanh’s
desktop and/or laptop computers was not relevant to this litigation. MetLife adds that
information on Mr. Phommachanh’s computers may have been preserved elsewhere and that
absent a more specific description of the information Defendants seek, MetLife cannot admit or

deny whether it is in possession of such data.

17. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Donald Sackow for use in connection with his employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Mr. Sackow’s hard
drive at the time of his resignation because every bite of data on Mr. Sackow’s desktop and/or
laptop computers was not relevant to this litigation. MetLife adds that information on Mr.
Sackow’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.
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18. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
‘MetLife to Kurt Tuzinkewich for use in connection with his employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Mr. Tuzinkewich’s
hard drive at the time of his resignation because every bite of data on Mr. Tuzinkewich’s desktop
and/or laptop computers was not relevant to this litigation. MetLife adds that information on Mr.
Tuzinkewich’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.

19. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to James Wilbert for use in connection with his employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Mr. Wilbert’s hard
drive at the time of his resignation because every bite of data on Mr. Wilbert’s desktop and/or
laptop computers was not relevant to this litigation. MetLife adds that information on Mr.
Wilbert’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.

20. MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Greg Zastrow for use in connection with his employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Mr. Zastrow’s hard
drive at the time of his resignation because every bite of data on Mr. Zastrow’s desktop and/or
laptop computers was not relevant to this litigation. MetLife adds that information on Mr.

Zastrow’s computers may have been preserved elsewhere and that absent a more specific
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description of the information Defendants seek, MetLife cannot admit or deny whether it is in
possession of such data.
21. MetLife presently does not have in its possession a copy of the data or other

information maintained on the hard drives of all desktop and/or laptop computers supplied by
MetLife to Leo Zimmerman for use in connection with his employment by MetLife.

RESPONSE: MetLife admits it did not make a bit by bit image of Mr. Zimmerman’s
hard drive at the time of his resignation because every bite of data on Mr. Zimmerman’s desktop
and/or laptop computers was not relevant to this litigation. MetLife adds that information on Mr.

_ Zimmerman’s computers may have been preserved elsewhere and that absent a more specific
description of the information Defendants seek, MetLife cannot admit or deny whether it is in

possession of such data.

22. MetLife did not preserve all of the data maintained on the hard drives of all
desktop and/or laptop computers supplied by MetLife to each of the individuals identified in the
preceding paragraphs 1 through 21, following the termination of each such individuals’
employment with MetLife in 2005.

RESPONSE: MetLife admits it did not make a bit by bit image of the hard drives for the
desktop and/or laptop computers supplied to the individuals identified in Paragraphs 1 through
21 at the time of their resignations because every bite of data on their computers was not relevant
to this litigation. MetLife adds that information on these individuals’ computers may have been
preserved elsewhere and that absent a more specific description of the information Defendants
seek, MetLife cannot admit or deny whether it is in possession of such data.

23. MetLife did not undertake any forensic analysis of the MetLife computers and/or
servers located at MetLife’s Downers Grove Agency during J uly 2005, to determine which,
if any, of the individuals identified in the preceding paragraphs 1 through 21, accessed

the MetDirect database in May and June 2005 and downloaded and/or copied MetDirect reports
from that database.
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RESPONSE: MetLife admits that it did not perform forensic analyses of the individuals’
MetLife computers to investigate their theft of MetDirect Reports, as the source of such
information was not their personal computers. MetLife further admits that no such investigation
was performed in July 2005. MetLife trusted that when Guardian and its counsel represented to
Judge Wheaton and MetLife that all MetLife materials had been retumed, and when Guardian

and its counsel continued to represent before this Court that all MetLife materials had been

Respectfully PM

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retumed, counsel’s representations were truthful,

Dated: August 6, 2009 COUNSEL FOR PLAINTIFF

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CERTIFICATE OF SERVICE
I certify that on this 6" day of August, 2009 I served via electronic and overnight mail the

foregoing MetLife’s Supplemental Responses to Guardian’s Second Request for Admissions

upon the following:

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EXHIBIT 13
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
METROPOLITAN LIFE )
INSURANCE COMPANY, )
)
Plaintiff, )
)
Vv. } Case No. 06 C 5812
)
THE GUARDIAN LIFE INSURANCE ) Judge Charles R. Norgle
COMPANY OF AMERICA, ) Magistrate Judge
O’M & ASSOCIATES LLC, DBA ) Martin C. Ashman
O’MALLEY & ASSOCIATES )
)
Defendants. )

MetLife’s Supplemental Responses to Guardian’s
Second Request For Production of Documents

Plaintiff Metropolitan Life Insurance Company (“MetLife”) responds to Defendant The
Guardian Life Insurance Company of America’s (“Guardian”) Second Request For Production of
Documents as follows:

PRELIMINARY STATEMENT
MetLife is continuing its investigation and reserves the right to rely on any facts,
documents, or other evidence that might come to its attention at a later time. MetLife’s
responses to Guardian’s Second Request for Production are based upon information known at
this time, and MetLife sets forth these answers without prejudice to its right to supplement these
Tesponses or assert additional objections should it discovery additional information or grounds
for objection. MetLife specifically reserves its right to supplement or amend these responses at

any time before trial.

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GENERAL OBJECTIONS
MetLife asserts the following General Objections to each specific Request, as if
incorporated and set forth below in response to each Request:

1. MetLife objects to Guardian’s Instructions and Definitions to the extent they
impose burdens and requirements that are different from, or broader than those imposed by the
Federal Rules of Civil Procedure. By responding to any Request, MetLife does not adopt the
definitions or instructions set forth in Guardian’s Requests.

2. MetLife objects to Guardian’s Requests to the extent they are cumulative of those
made by Guardian or its subsidiary, Park Avenue Securities, LLC, in the companion FINRA
arbitration styled Metropolitan Life Insurance Company v. Guardian Life Insurance Company of
America, et al., FINRA No. 05-03694. Pursuant to agreement by the parties, all documents
exchanged in the arbitration are considered exchanged in this matter as well.

3. MetLife objects to Guardian’s Requests to the extent they ask MetLife to identify
documents which were produced to MetLife by Guardian, Park Avenue Securities, or any of the
individual respondents in the companion arbitration which support its claims. Rule 34 does not
impose any such burden. MetLife has not done so.

4. MetLife objects to Guardian’s requests to the extent the seek information
protected by the attorney-client privilege, the work product doctrine or other applicable
privileges, immunities or doctrines. Unless indicted otherwise, the production of any such
protected information shall be deemed inadvertent and shall not be construed to constitute a

waiver of any applicable protection or privilege.

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RESPONSES TO REQUESTS FOR PRODUCTION

1. All documents referring or relating to MetLife’s review, examination,
consideration and/or analysis of the productivity or production targets set for each of the
following individuals during the period October 2004 through and including October 2005: (a)
Jeffrey Adler; (b) Ann Beck; (c) Jeff Bishop; (d) Bruce Bitter; (e) Ann Brennan; (f) Laura Davis;
(g) John DeSimone; (h) Mary Patricia Ernst; (i) Annette Hammortree; (j) Richard Henson; (k)
James Hoeflinger; (1) Rhonda Jecman; (m) Justin LaMonica; (n) Tricia Overton; (0) Rathika
Pathy; (p) Vinay Phommachanh; (q) Donald Sackow; (rt) Kurt Tuzinkewich; (s) James Wilbert;
(t) Greg Zastrow; and (u) Leo Zimmerman.

RESPONSE: MetLife did not set individual production targets for these individuals, so there
are no responsive documents. Documents reflecting sales production of these individuals are
contained in the run rate reports that have been produced as bates numbers D0014-0229. Beyond
that, MetLife objects to this Request as not reasonably calculated to lead to the discovery of
admissible evidence and as overbroad to the extent it seeks “all documents.

2. All documents which form the factual basis for Plaintiff’s allegation that

“Guardian knew O’Malley was subject to the 16449 agreement” as alleged in paragraph 21 of the
Amended Complaint.

RESPONSE: MetLife has produced responsive documents in its possession bates labeled

A0309. Beyond that, see General Objection No. 3.

3. All documents which form the factual basis for Plaintiff's allegation that
“Guardian encourage[d]” “O’Malley [to] recruit[] a team of his employees to” “join Guardian’s
competing office” as alleged in paragraph 22 of the Amended Complaint.

RESPONSE: MetLife has produced responsive documents in its possession bates labeled
A0353, A2013, A2014, B0001-0002, N0014, and Respondents’ Exhibit No. 122. Beyond that,

see General Objection No. 3.

4. All documents which form the factual basis for Plaintiff's allegation that
“Guardian encourage[d]” “O’Malley [to] recruit[] a team of his employees to steal MetLife’s
client files” as alleged in paragraph 22 of the Amended Complaint.

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RESPONSE: See MetLife’s Response to Request No. 3. MetLife has produced additional
responsive documents in its possession bates labeled B0003-0016, B0017-0020, B0021-0026,
B0027, B0039-0058, B0059-0097, B0098-0108, H2144-2146, Claimant’s Exhibit No. 65, and

Respondents’ Exhibit No. 122. Beyond that, see General Objection No. 3.

5. All documents which form the factual basis for Plaintiff’s allegation that
“Guardian encourage[d]” ““O”Malley [to] recruit[] a team of his employees to” use “stolen client
files to solicit MetLife customers” as alleged in paragraph 22 of the Amended Complaint.
RESPONSE: MetLife has produced responsive documents in its possession bates labeled
B0003-0016, B0O17-0020, B0021-0026, B0027, B0039-0058, B0059-0097, B0098-0108,
H2144-2146, Claimant’s Exhibit No. 65, and Respondents’ Exhibit No. 122. Beyond that, see
General Objection No. 3.

6. All documents which form the factual basis for Plaintiff's allegation that Guardian
“knew that most of the MetLife employees” “solicited were parties to 16449 agreements which
prohibited them from soliciting MetLife clients or employees for 18 months” as alleged in
paragraph 22 of the Amended Complaint.

RESPONSE: MetLife has produced responsive documents in its possession bates labeled
A0309, A0353, A1310, A0743, A2091, A2092, A2093, A2094, and Claimant’s Exhibits Nos.
1(d)-1(n). Beyond that, see General Objection No. 3.

7. All documents which support Plaintiff's allegation that John DeSimone, Laura
Davis and/or Mary Patricia Emst were agents of Guardian at any time prior to July 1, 2005.
RESPONSE: MetLife has produced responsive documents in its possession bates labeled
A1056-1061, A1635-1645, A1646-1652, B0001-0002, B0003-0016, B0017-0019, B0020,

B0098-B0108, and BO109-0201. Beyond that, see General Objection No. 3.

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8. All documents reflecting any list, index and/or inventory of the hard copy client
files maintained at the MetLife Downers Grove agency at any time during the period January 1,
2005 through and including October 1, 2005.

RESPONSE: MetLife did not maintain any list, index or inventory of all the hard copy client
files maintained at the MetLife Downers Grove agency during the period of January 1, 2005
through October 1, 2005. Nevertheless, see documents bates labeled B0003-0016, B0098-
B0108, and B0109-0201. Beyond that, see General Objection No. 3.

9. All documents referring or relating to the examination of files undertaken by
MetLife representatives during July 2005 at the offices of Piccone, Keeley & Associates,
including but not limited to any handwritten or electronic notes taken during the review and any

and all drafts of the document entitled “File Inventory.”
RESPONSE: MetLife has produced responsive documents in its possession bates labeled
B0003-0016, B0098-B0108, and BO109-0201. Beyond that, see General Objection No. 3.

10. All documents reflecting Guardian’s knowledge that client files were being
removed from the Downers Grove agency by or on behalf of (a) John DeSimone; (b) Laura
Davis; (c) Mary Patricia Ernst; and/or (d) Annette Hanunortree, at any time during the period
May 1, 2005 through and including July 1, 2005.

RESPONSE: MetLife has produced responsive documents in its possession bates labeled
B0003-0016, B0017-0019, B0020, B0098-B0108, B0109-0201, GO001, and Respondents’
Exhibit No. 122. Beyond that, see General Objection No. 3.

11. All documents which support Plaintiffs allegation that it was “harmed by the loss
of [ ] client files” as alleged in paragraph 57 of the Amended Complaint.

RESPONSE: MetLife has produced responsive documents in its possession bates labeled

B0021-0026, B0059-0097, D0001-0499, E0002-0279, and RO001-0007. Beyond that, see

General Objection No. 3.

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12, All documents which support Plaintiff’s allegation that Guardian has been
“unjustly enriched” by the acts alleged in the Amended Complaint.

RESPONSE: MetLife has produced responsive documents in its possession bates labeled
A0309, A1310, A0743, 42091-2094, B0003-0016, B0017-0020, B0021-0026, B0027, B0039-
0058, B0059-0097, B0098-0108, D0001-0499, E0002-0279, H2144-2146, and Claimant’s

Exhibits Nos. 1(d)-1(n). Beyond that, see General Objection No. 3.

13. All documents which support the allegations set forth in paragraph 44 of the
Amended Complaint that Guardian knowingly aided and abetted Michael O’Maliley in soliciting
MetLife employees or customers.

RESPONSE: MetLife has produced responsive documents in its possession bates labeled

B0001-0002, B0039-0058, and BO059-0097. Beyond that, see General Objection No. 3.

14. All documents which support Plaintiff's allegation that Guardian induced “former
MetLife employees to repudiate the non-compete and non-solicitation provisions of their 16449
agreements” as alleged in paragraph 63 of the Amended Complaint.

RESPONSE: MetLife has produced responsive documents in its possession bates labeled
A0309, A1310, A0743, A2091, A2092, A2093, A2094, B0003-0016, B0017-0020, B0021-0026,
B0027, B0039-0058, B0059-0097, B0098-0108, B109-187, and GO001. Beyond that, see
General Objection No. 3.

15. All documents reflecting or referring to MetLife’s repeated demands that
Guardian return any client files as alleged in paragraph 79 of the Amended Complaint.
RESPONSE: MetLife has produced responsive documents in its possession bates labeled
D0352, D0353-0359, and RO008-0009. Beyond that, see General Objection No. 3.

16. All documents which support Plaintiff’s allegation that Guardian is liable for the
conduct alleged in Count VII of the Amended Complaint under a theory of respondeat superior.

RESPONSE: MetLife has produced responsive documents in its possession bates labeled
A0353, A2013-2014, B0001-0002B0003-0016, BO017-0020, B0021-0026, B0027, B0039-0058,

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B0059-0097, B0098-0108, H2144-2146, Claimant’s Exhibit No. 65, and Respondents’ Exhibit

No. 122. Beyond that, see General Objection No. 3.

17. All documents reflecting the steps taken by MetLife to notify customers of the
loss of their personal information due to the breach of MetLife’s security alleged in paragraph 69
of the Amended Complaint.

RESPONSE: MetLife objects to this request as not reasonably calculated to lead to the
discovery of admissible evidence and as overbroad to the extent it seeks “all” documents.

Subject to these objections, MetLife is unaware of any responsive documents in its possession.

18. All documents reflecting the steps which MetLife has taken to mitigate the
damages alleged in the Amended Complaint with respect to each cause of action.

RESPONSE: MetLife objects to this Request as not reasonably calculated to lead to the
discovery of admissible evidence and as overbroad to the extent it seeks “all” documents.
Subject to these objections, MetLife has produced responsive documents in its possession bates

labeled D0363-0388, E0001, and FO001-1661.

19. All documents relating or referring to the security measures in place at the
MetLife Downers Grove agency during the period J anuary 1, 2005 through and including
October 1, 2005, to maintain the security of the following: (a) customer names, addresses and
phone numbers; (b) customer financial information; (c) customer insurance policy numbers; and
(d) customer insurance policy documentation and investment portfolio information.

RESPONSE: MetLife has produced responsive documents in its possession bates labeled

B0017-19, B0020, G0001, and RO010-0489. Beyond that, see General Objection No. 3.

20. All documents reflecting, relating or referring to any steps taken by MetLife to
preserve the information maintained on the hard drives of all of the desktop and laptop
computers supplied by MetLife to each of the following individuals for use in connection with
their employment by MetLife: (a) Jeffrey Adler; (b) Ann Beck; (c) Jeff Bishop; (d) Bruce Bitter;
(e) Ann Brennan; (f) Laura Davis; (g) John DeSimone; (h) Mary Patricia Ernst; (i) Annette
Hammortree; (j) Richard Henson; (k) James Hoeflinger; (1) Rhonda Jecman; (m) Justin
LaMonica; (n) Michael O'Malley; (0) Tricia Overton; (p) Rathika Pathy; (q) Vinay

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Phonunachanh; (r) Donald Sackow; (s) Kurt Tuzinkewich; (t) James Wilbert; (u) Greg Zastrow;
and (v) Leo Zimmerman.

RESPONSE: MetLife objects to this request as not reasonably calculated to lead to the
discovery of admissible evidence and as overbroad to the extent it seeks “all” documents.
Subject to these objections, MetLife is unaware of any responsive documents in its possession.
21. All documents regarding any forensic analysis of computers and servers located at
MetLife’s Downers Grove Agency undertaken by or on behalf of MetLife during July 2005, to
determine which, if any, of the individuals listed in paragraph 31 of MetLife’s Amended

Complaint accessed the MetDirect database in May and June 2005 and downloaded and/or
copied MetDirect reports from that database.

RESPONSE: MetLife objects to this request as not reasonably calculated to lead to the
discovery of admissible evidence and as overbroad to the extent it seeks “all” documents.

Subject to these objections, MetLife is unaware of any responsive documents in its possession.

22. Any and all litigation holds, document preservation notices and/or other
communication(s) provided by MetLife to its personnel in connection with the claims asserted in
this litigation from January 1, 2005, through the present.

RESPONSE: See General Objection No. 5: correspondence sent from MetLife’s legal counsel
is privileged. Muro v. Target Corp., 2007 U.S. Dist. LEXIS 81776, at *33-34 (N.D. Ill. 2007)
(holding that communications of legal advice from corporate counsel to corporate employees
regarding document preservation [i.e., litigation hold notices] are privileged material). Beyond

that, MetLife objects to this Request as not reasonably calculated to lead to the discovery of

admissible evidence.

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Dated: August 6, 2009

CHO1/ 25352975.3

Respectfully ein

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COUNSEL FOR PLAINTIFF
Case: 1:06-cv-05812 Document #: 223-2 Filed: 09/03/09 Page 82 of 105 PagelD #:3982

CERTIFICATE OF SERVICE
I certify that on this 6" Day of August, 2009 I served via electronic and overnight mail

the foregoing MetLife’s Supplemental Responses to Guardian’s Second Request for

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August 10, 2009
BY E-MAIL

Michael J. Sheehan

Drinker Biddle & Reath LLP
191 North Wacker Drive
Suite 3700

Chicago, Illinois 60606-1698

Re: MetLife Insurance Co. v. The Guardian Life Ins. Co. of America,
et al., Case No. 06 C 5812 (N.D. IIL.)

Dear Mr. Sheehan:

We have reviewed MetLife’s Supplemental Response to Guardian's Second Request for
Production of Documents, MetLife’s Supplemental Response to Guardian’s Second Request for
Admissions (collectively, MetLife’s “Responses”), and the three-page Privilege Log served with
those Responses on Thursday, August 6, 2009.

MetLife’s Responses and Privilege Log reflect a flagrant disregard of the Federal Rules
of Civil Procedure and disrespect for the Court's July 20, 2009 Order. The answers provided by
MetLife are non-responsive, incomplete, and misleading. They contradict sworn testimony of
MetLife witnesses and representations made by MetLife's counsel to the Court. Several
responses are inconsistent with each other, and at odds with information appearing on MetLife’s
Privilege Log. Plainly, documents responsive to Guardian's Requests are being withheld, many
under specious claims of privilege, in what amounts to a potentially widespread abuse of
discovery on the part of MetLife.

Accordingly, Guardian hereby demands that MetLife (1) provide complete and proper
responses to Guardian's Second Request for Admissions; (2) identify and produce all documents
responsive to Guardian's Second Request for Production of Documents; (3) produce all non-
privileged documents currently listed on its Privilege Log; and (4) provide an amended Privilege
Log. In the event MetLife fails to comply with these demands by noon on Tuesday, August 11,
2009, Guardian will seek appropriate relief from the Court.
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A. MetLife's Privilege Log
1. Failure To Comply With Fed. R. Civ. P. 26(b)(5)

MetLife's Privilege Log is utterly confusing. It contains 14 entries for emails, most of
which are listed as email chains. As a result, multiple emails are grouped together and treated as
a single entry. (See Emails Nos. 1, 2, 4, 6, 7, 8, 9, 13 and 14.) Although in some instances
MetLife has identified the "[iJnitial author" of the email, it has failed to identify the
corresponding recipient or recipients of the "initial" email, the author and recipient(s) of each
successive email within the chain, or the dates upon which each such email was sent. It is
completely impossible to ascertain, thus, who sent and received what email and when and
whether an attorney was party to any or all of the communications. Moreover, MetLife has used
the same "[p]rivilege [d]escription" for all emails in the chain, leading one to believe that all such
emails are protected by the same privilege when, in fact, that does not appear to be the case.
Indeed, some of the emails listed on the Privilege Log have been produced.

MetLife’s Privilege Log also is inadequate because it fails to identify any of the
documents listed on its Privilege Log by Bates number. Thus, it is unclear whether MetLife is
asserting the privilege solely as to the particular email communication or as to any files or
documents attached to those email communications as well. You also refers to several
individuals without providing any information as to their respective titles or roles. For example,
no information whatsoever is provided for Laura Ginter (No. 2), Dean Mansavage (No. 4),
Charlene Inwinski (No. 6), or Melinda Herbst (No. 13). Others are identified with two or three
word descriptions that disclose almost nothing about the person or where they fit in the MetLife
organization. Some entries are also inconsistent. For example, Stephen Potts is identified in one
entry as "Financial Planner" (No.5) but in another entry (No. 7) as “Sales.” See Muro v. Target
Corp., 250 F. R.D. 350, 365 (N.D. Ill. 2007) (determination that certain “insufficient” titles
violated Fed. R. Civ. P. 26(b)).

Federal Rule of Civil Procedure 26(b)(5)(A)(ii) requires that the information provided on
a privilege log must be sufficiently detailed so as to “enable other parties to assess the claim” of
privilege.” In this jurisdiction, Judge Ashman has clearly articulated the types of information to
be included in a privilege log and the manner in which such information is to be presented. See
Heriot v. Byrne, 2009 WL 742769 at *21 (N.D. Ill. March 20, 2009). The information provided
in MetLife's Privilege Log falls far short of these criteria and should be amended at once.

2. Failure To Establish Attorney Client Privilege

MetLife's assertion of the attorney-client privilege as to all documents listed on its
Privilege Log is specious. Only two of the privilege descriptions indicate that the
communication contain or reflect legal advice (Email Nos. 5 and 14). Only one of those
communications (No. 14), however, involved an attorney. Two other emails purportedly reflect,
in part, counsel’s “legal analysis” or ‘“‘strategy” (Nos. 2 and 4), but they are part of email chains
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in which the role of counsel cannot be ascertained.

The vast majority of the items on MetLife’s Privilege Log—Email Nos. 1, 6-9, 13,
portions of Email Nos. 2 and 4, and Spreadsheets Nos. 1-14—indicate that they were "sent" to
or "compiled for" MetLife’'s counsel "to assist in investigation of litigation." Materials
assembled in connection with an investigation of litigation do not fall within the scope of the
attomey client privilege. United States v. White, 950 F.2d 426, 430 (7th Cir. 1991); accord
Heriot v. Byrne, 2009 WL 742769, at *7 (N.D. Ill. Mar. 20, 2009) (the attorney client privilege
“adheres only if the communications constitute legal advice, or tend directly or indirectly to
reveal the substance of a client confidence.”) Accordingly, MetLife should produce all
documents listed in Email Nos. 1, 2, 4, 6-9, 13 and Spreadsheet Nos. 1-14, as MetLife has failed
to establish that these items reflect any legal advice, strategy or analysis.

MetLife also is obligated to produce the Spreadsheets listed in its Privilege Log, along
with the emails listed in Email No. 9, because any privilege that might have attached to such
documents has been waived. During the FINRA arbitration, MetLife produced several screen
shots taken of MetDirect Order Tracking reports compiled by Dan Shaffer. (See, e.g., H2147-
2150.) These very screenshots and other MetDirect information were referenced in the
Declarations of Jerald Stiedaman, dated May 11, 2009, and June 3, 2009, and submitted to the
Court in support of MetLife's trade secrets and sanctions motions. MetLife also used MetDirect
Reports and related information throughout the course of the FINRA arbitration, during the
direct and cross-examination of multiple witnesses. For MetLife now to take the position that
communications relating to MetDirect Reports are protected, attorney-client communications, is
completely disingenuous.

B. MetLife's Supplemental Responses to Guardian's Second Request For
Admissions

MetLife's Responses to Guardian's Requests for Admissions also are grossly deficient. In
Requests Nos. 1-21, Guardian asked MetLife to admit or deny, as to each of the 21 former
MetLife employees who joined Guardian during 2005, that:

MetLife presently does not have in its possession a copy of the data or other
information maintained on the hard drives of all desktop and/or laptop computers
supplied by MetLife to [each individual] for use in connection with [his/her]
employment by MetLife.

MetLife responded to each request using the identical, non-responsive answer:
MetLife admits it did not make a bit by bit image of [each individual's] hard drive

at the time of his/her resignation because every bite of data on [each individual's]
desktop and/or laptop computers was not relevant to this litigation. MetLife adds
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that information on [each individual's] computers may have been preserved
elsewhere and that absent a more specific description of the information
Defendants' seek, MetLife cannot admit or deny whether it is in possession of
such data.

MetLife provided the identical response to Request No. 22, in which Guardian asked
MetLife to admit or deny that it "did not preserve all of the data maintained on the hard drives
of all desktop and/or laptop computers supplied by MetLife to each of the [21 individuals]
following the termination of each such individuals’ employment with MetLife in 2005:"

MetLife admits it did not make a bit by bit image of the hard drives for the
desktop and/or laptop computers supplied to the individuals identified in
Paragraphs 1 through 21 at the time of their resignations because every bite of
data on their desktop and/or laptop computers was not relevant to this litigation.
MetLife adds that information on these individuals computers may have been
preserved elsewhere and that absent a more specific description of the
information Defendants’ seek, MetLife cannot admit or deny whether it is in
possession of such data.

MetLife's responses to these Requests are wholly inadequate. MetLife admits that it did
not make a “bit by bit image” of the hard drives but fails to state whether it possesses or
preserved such information in any other manner. The notion that MetLife “cannot admit or deny
whether it is in possession of” or “preserved” this information is completely preposterous. If
MetLife has some, but not all of the information, it is required to identify the information it has,
and the information it does not have. If it can neither admit nor deny the matter as to which an
admission is sought, it must explain all efforts it has undertaken and inquiries it has made to
ascertain the matters called for in the requests, identify the other sources of this information and
supply any necessary documents. Adams v. Cavanagh Communities Corp., 1988 WL 64097, *2
(N.D. Ill. June 13, 1988). MetLife has provided none of this information at all.

MetLife's response to Request No. 23 is also deficient. There, Guardian asked MetLife to
admit or deny that it had not undertaken any “forensic analysis” of the MetLife “computers
and/or servers” located at Downers Grove to determine if any of the 21 individuals had
“accessed the MetDirect database in May and June 2005 and downloaded and/or copied
MetDirect reports from that database.” Although MetLife again admits that it did not make a bit
by bit image of the individuals’ computers, it fails to address that portion of Guardian’s Request
addressed to MetLife's computer "servers." MetLife's assertion that it did not perform forensic
analyses of the individuals' MetLife computers because "the source of such information was not
their personal computers" is nonsensical. Guardian's request relates to the individuals’ MetLife
computers, not their personal computers. MetLife's claim that no investigation of the individuals'
attempts to access MetDirect was performed in July 2005 is patently false. According to
MetLife's own Privilege Log, MetLife engaged in an investigation of "MetLife representative
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log-in information and orders” on July 11, 2005. The remaining accusations MetLife makes in
response to Request No. 23 are baseless, improperly argumentative and should be stricken.

C. MetLife's Supplemental Responses to Guardian's Second Request For
Production

MetLife's Responses to Guardian's Second Request For Production of Documents are
evasive, inaccurate and incomplete.

Request No. 1. Request No. 1 seeks the production of documents “referring or relating to
MetLife’s review, examination, consideration and/or analysis of the productivity or production
targets set” for the 21 former MetLife employees who joined Guardian during 2005. In its
answer, MetLife claims that “there are no responsive documents” because it “did not set
individual production targets” for the 21 former employees. This appears to be a complete
fabrication. Dean Gregory testified that several of the 21 former MetLife employees were not
meeting “minimum production standards” at the time they resigned in 2005. (FINRA Arbitration
Hearing Tr. July 25, 2007 at 415). These individuals confirmed that they had been terminated or
advised by Dean Gregory to transfer because they were not meeting production targets. See, e.g,
FINRA Arbitration Hearing Transcripts November 4, 2008 at 377-78 (Beck), November 6, 2008
at 702-05 (Brennan), and November 3, 2008 at 107-109 (Overton). Guardian thus demands the
immediate production of documents responsive to Request No. 1.

Request No. 8. MetLife claims in response to Request No. 8 that it "did not maintain any
list, index or inventory of all the hard copy client files maintained at the MetLife Downers Grove
agency during the period January 1, 2005 through October 1, 2005." Guardian, however, did
not ask for a list, index or inventory of "all" hard copy files maintained at Downers Grove;
Guardian requested the production of any list, index or inventory of hard copy files—whether
such list contains all of the hard copy files or only some of them. Accordingly, Guardian
reiterates its request for the production of the documents sought in Request No. 8.

Request No. 20. In this Request, Guardian asks MetLife to produce all “documents
reflecting, relating or referring to any steps taken by MetLife to preserve the information
maintained on the hard drives” of the MetLife computers supplied to the 21 former MetLife
employees. MetLife claims that it “is unaware of any responsive documents in its possession.”
MetLife’s response is highly misleading. MetLife’s Privilege Log shows that “electronic
information” was being collected during late June 2005, and a “computer investigation” being
conducted during July 2005. MetLife’s counsel also has represented that a database containing
“thousands” of MetLife emails was created at or about this time. Moreover, in its Response to
Guardian’s Second Request for Admissions, MetLife concedes that information on these
computers "may have been preserved” which means some "steps" must have been taken to
preserve it. Finally, as MetLife well knows, its obligation to produce documents extends, not
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only to those in its actual "possession,” but to those in its “custody or control” as well. Guardian
demands that all documents responsive to Request No. 20 be produced.

Request No. 21. MetLife's response to Guardian’s Request No. 21 suffers from the same
defects as MetLife’s Response to Request No. 20. In Request No. 21, Guardian asks MetLife to
produce all “documents regarding any forensic analysis of computers and servers” at Downers
Grove during July 2005, to determine which of the former MetLife employees “accessed the
MetDirect database in May and June 2005 and downloaded and/or copied MetDirect reports
from that database.” MetLife claims, in its Response, that it is “unaware of any responsive
documents in its possession.” Once again, however, MetLife’s Response appears to be
inaccurate. Its Privilege Log shows that a “computer investigation” and investigation concerning
“MetLife representative log-in information and orders” was being conducted during July 2005.
All such documents in MetLife's possession, custody or control, thus, should be produced.

Request No. 22. In Request No. 22, Guardian asks MetLife to produce “[a]ny and all
litigation holds, document preservation notices and/or other communication(s) provided by
MetLife to its personnel” regarding this litigation, at any time from January 1, 2005 through the
present. MetLife objects to this Request, claiming that “correspondence sent from MetLife’s
counsel is privileged” and citing to Muro v. Target Corp., 2007 U.S.Dist. LEXIS 81776, at *33-
34 (N.D. Il. 2007). MetLife, however, did not list any litigation hold or document preservation
notices on its Privilege Log. MetLife’s reliance on Muro is also misplaced. Muro did not
involve a situation in which the party from whom the discovery is sought destroyed information
highly relevant to the case. Here, however, MetLife employee Jerald Stiedaman admitted that he
received no litigation hold notice, that no steps were taken to preserve the hard drive of his
computer when it crashed, and that all of his emails from the relevant time periods—2005, 2006
and 2007—-had been destroyed. In such situations, where questions concerning the scope of a
party's preservation are raised, courts have held that litigation hold notices are relevant and must
be produced. See, e.g., Zubulake v. UBS, 229 F.R.D. 422 (S.D.N.Y. 2004).

D. Conclusion

Guardian served MetLife with a Second Request for Admissions and a Second Request
for Production on May 31, 2009. MetLife responded with a frivolous objection, forcing
Guardian to file a motion to compel. During a motion conference on July 7, 2009, Judge
Ashman soundly rejected MetLife’s objection. Instead of pursuing its motion to compel,
Guardian agreed to hold that motion in abeyance pending receipt of MetLife’s answers to these
discovery demands on August 6, 2009. The Responses served by MetLife, however, are plainly
deficient and smack of bad faith.

Accordingly, Guardian demands that MetLife (1) provide complete and proper responses
to Guardian's Second Request for Admissions; (2) identify and produce all documents responsive
to Guardian's Second Request for Production of Documents; (3) produce all non-privileged
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documents currently listed on its Privilege Log (Email Nos. 1, 6-9, 13, portions of Email Nos. 2
and 4, and Spreadsheets Nos. 1-14); and (4) provide an amended Log. In the event MetLife fails
to comply with these demands by noon on Tuesday, August 11, 2009, Guardian will seek all
available and appropriate relief from the Court.

Very truly yours,

 

cc: Kimball Anderson
Virginia Richard
Rachel B. Cowen (Drinker, Biddle & Reath)
Terrence Canade (Locke, Lord, Bissell & Liddell LLP)
Steven Whitmer (Locke, Lord, Bissell & Liddell LLP)
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Rachel Cowen

Partner

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August 25, 2009

VIA EMAIL

Lori Van Auken

Winston & Strawn LLP

200 Park Avenue

New York, New York 10166

Re: Metropolitan Life Insurance Co. v. The Guardian Insurance Co., et al.

Case No. 06 C 5812
Dear Lori:

I write in response to your August 10, 2009 letter which alleges numerous
deficiencies in MetLife’s Privilege Log, MetLife’s Supplemental Responses to
Guardian’s Second Request for Admissions, and MetLife’s Supplemental Responses to
Guardian’s Second Request for Production of Documents. I will address each of these in
turn.

I. MetLife’s Privilege Log

You raise several objections to the form of MetLife’s Privilege Log. We disagree
with your characterization of this document as “utterly confusing.” MetLife’s Privilege
log complies with all of Magistrate Judge Ashman’s specifications set forth in both
Heriot v. Byrne, 2009 WL 742769 at 21 (N.D. Ill. March 20, 2009) and Jn re JP Morgan
Chase & Co. Securities Lit, 2007 WL 2363311, at *12 (N.D. Ill. Aug. 13, 2007).
Nevertheless, in the spirit of cooperation, we have enclosed an amended privilege log that
addresses the concerns expressed in your letter. Namely, we have separated emails
within email chains into individual entries. We have also clarified job titles for the
individuals identified in your letter.

You also object to the substance of MetLife’s Privilege Log. Specifically, you
contend that Email Nos. 1, 6-9, 13, portions 2 and 4, and Spreadsheets Nos. 1-14 are not
privileged because they were sent to counsel “to assist in the litigation.” You also
contend that MetLife waived any privilege that might have attached to Email No. 9 and
Spreadsheets Nos. 1-14 because it previously produced screen shots of MetDirect Order
Tracking reports in the FINRA arbitration. Neither contention has merit.

First, all documents identified on MetLife’s Privilege Log as containing
information sent to counsel “to assist in the investigation of the litigation” are privileged.
These documents reflect MetLife’s counsels’ thought processes and legal strategies.
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Kodish v. Oakbrook Terrace Fire Protection District, 235 F.R.D. 447, 453 (N.D. ILL.
2006)(attorney-client privilege applies where “the purpose of the communications was to
review and consider legal issues pertaining to pending litigation”).

US. v. White, 950 F.2d 426 (7" Cir. 1991) and Heriot v. Byrne, 2009 WL 742769
at 21 (N.D. Ill. March 20, 2009) are distinguishable. In both cases, the parties asserting
privilege sent their attorneys information to be used in preparing publically filed
documents. Both courts held that no attorney-client privilege attached because the client
had no reasonable expectation that the information would be maintained as confidential.
Here, by contrast, the information provided to counsel was not submitted for the purpose
of preparing public documents. Rather, the information was provided to counsel to
investigate and assess MetLife’s claim and with the expectation that it remain
confidential.

Second, MetLife’s decision to produce 3 of the 14 spreadsheets does not waive
privilege. For the reasons just discussed, we contend that the information in the non-
produced spreadsheets is privileged. MetLife production of some spreadsheets does not
entitle Guardian to discover additional information that will reveal MetLife’s counsel’s
thought processes and legal strategies. Nevertheless, MetLife’s recent review of the
unallocated space on Guardian’s Hutch and Yoda servers increases the significance of
these documents (they confirm that MetDirect reports were ordered). Accordingly,
MetLife agrees to produce the remaining spreadsheets which are enclosed as Bates Nos.
H2147-2163. These documents correspond to the former MetLife employees:

H 2147: Laura Davis

H 2148: Mary Patricia Ernst
H 2149: Annette Hammortree
H 2150: Jeffrey Adler

H 2151: Ann Beck

H 2152-53: Jeff Bishop

H 2154: Bruce Bitter

H 2155: Ann Brennan

H 2156: John DeSimone

H 2157: Richard Henson

H 2158: Rhonda Jecman

H 2159: Tricia Overton

H 2160: Donald Suckow

H 2161: James Wilbert

H 2162-63: Greg Zastrow

MetLife retains the privilege with respect to the underlying email communication.
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I. MetLife’s Supplemental Responses to Guardian’s Second Request for
Admissions

Request Nos. 1-22. You contend that MetLife must identify all information in its
possession that was contained on the hard drives of the computers used by each
individual specified in Request Nos. 1-21. MetLife admitted it did not image these hard
drives. Our answer is clear. Our response merely clarified that data saved on those hard
drives may have resided, and therefore, been preserved elsewhere. MetLife cannot
search for information in other sources absent a specific request from Guardian
identifying what information it seeks.

Adams v. Cavanaugh Communities Corp., 1998 WL 64097, at *2 (N.D. Ill. June
13, 1988) is distinguishable. There, the responding defendants argued they misplaced
materials necessary for answering plaintiffs requests to admit. The court held that
defendants’ responses were deficient because they failed to identify the necessary
missing documents. Here, by contrast, MetLife does not contend that information
necessary for answering these requests is misplaced. Rather, MetLife contends it cannot
admit or deny whether it has preserved some of the information absent a more specific
request from Guardian. In other words, Guardian’s requests are deficient -- not
MetLife’s responses.

Request No. 23. You contend that MetLife’s response fails to address whether it
conducted a forensic analysis of MetLife’s computer servers in July 2005 to determine
which, if any, of the former MetLife agents downloaded MetDirect reports. MetLife’s
response clearly states that “no such investigation was performed in July 2005.” With
regard to your concern about document No. 9 in MetLife’s Privilege Log, it contains a
typographical error. As reflected in MetLife’s Amended Privilege Log, the correct date
of the privileged email is December 11, 2007.

Il. MetLife’s Supplemental Responses to Guardian’s Second Request for
Production of Documents

Request No. 1. Guardian has requested that MetLife produce documents
“referring or relating to MetLife’s review, examination, consideration and/or analysis of
the productivity or production targets set for the 21 former MetLife individuals who
joined Guardian during 2005. MéetLife stands on its response that no responsive
documents exist. MetLife did not set production “targets” for the individual agents.

Your reference to Dean Gregory’s testimony about Minimum Production
Requirements (“MPR”) is different than production targets. Each year, MetLife sets a
single MPR for employees on its basic compensation plan. Any employee who fails to
meet the MPR is terminated. Thus, MPR represents the bare minimum an employee must
produce to keep his job. If Guardian believes this information is relevant, MetLife has no
objection to producing the 2005 MPR upon receipt of a proper written request.
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Request No. 8. Guardian has requested that MetLife produce documents
“reflecting any list, index and/or inventory of the hard copy client files maintained at the
MetLife Downers Grove agency” from January 1 to October 1, 2005. MetLife maintains
that no list, index and/or inventory” exists. This includes any partial list, index and/or
inventory.

Request Nos. 20 & 21. Guardian has requested that MetLife produce (i)
documents referring to “any steps taken by MetLife to preserve the information
maintained on the hard drives” of the MetLife computers of the 21 MetLife former
employees and (ii) documents regarding “any forensic analysis of computers and servers”
at MetLife Downers Grove agency during July 2005 to determine which, if any, former
employees accessed the MetDirect database. MetLife maintains it has no non-privileged
documents responsive to these requests.

MetLife’s Privilege Log does not suggest otherwise. First, as explained above,
the July 11, 2005 date on MetLife’s Privilege Log is a typographical error, which has
now been revised. Moreover, MetLife has produced the underlying spreadsheets so the
issue is moot.

Second, the June 21, 2005 email entry regarding MetLife’s “collection of
electronic information,” refers to collection of emails (our revised privilege log makes
this clear). As we have told you repeatedly, MetLife does not store emails on the hard
drives of the agents computers. Emails are kept on a central server and are also archived
in a repository on the server. Nor would an email review constitute “forensic analysis.”

Finally, we have never represented that MetLife “created” a database of emails
for purposes of this litigation. Rather, we explained that MetLife reviewed several
agents’ ingoing and outgoing emails, which were stored on MetLife’s email server (e.g.,
the database) for any evidence that Mr. O’Malley improperly solicited MetLife
employees in violation of his restrictive covenant and fiduciary duty, and that thousands
of emails may have been reviewed before finding Laura Davis “secret email” to Jeff
Adler & Annette Hammortree. We have produced that email. Your suggestion that
MetLife must also produce the entire inbox and sent box for these agents because that is
where the review process started is preposterous, and contrary to FRCP requirements.
Rothman v. Emory Univ., 123 F.3d 446, 455 (7" Cir. 1997)(finding that Rule 34 requires
a party to sort through its documents and “produce only those responsive” to its -
adversary’s requests).

Request No. 22. MetLife stands on its objections to Guardian’s request for
litigation hold and document preservation notices. Guardian has no basis for contending
that this information is relevant. Your contention that MetLife “destroyed information
highly relevant to the case” apparently rests on the Mr. Stiedaman’s testimony that he
believes MetLife deleted his emails after three years, and therefore, his emails were not
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preserved. While Mr. Stiedaman, no doubt, honestly believed his testimony was
accurate, it was not. He is a lay person with no personal knowledge of MetLife’s
document retention efforts in this case. In fact, MetLife does have possession of Mr.
Stiedaman’s 2005, 2006 and 2007 emails.

We believe this response should satisfy all your concerns. If there are any further
issues, we can discuss them during our meet and confer on Friday moming ,

Very. truly yours,

Rachel Cowen
RC/mlt

cc: Michael J. Sheehan
Kimball Anderson
Virginia Richard
Terrence Canade
Steven Whitmer
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EXHIBIT 17
 

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